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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                             §        Chapter 11
                                                   §
FIELDWOOD ENERGY LLC, et al.,                      §        Case No. 20-33948 (MI)
                                                   §
                                                   §        (Jointly Administered)
                           1
                 Debtors.                          §


                      FINAL ORDER (I) AUTHORIZING DEBTORS
             (A) TO OBTAIN POSTPETITION FINANCING PURSUANT TO
   11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e)
              AND (B) TO UTILIZE CASH COLLATERAL PURSUANT TO
           11 U.S.C. § 363 AND (II) GRANTING ADEQUATE PROTECTION
                 TO PREPETITION SECURED PARTIES PURSUANT TO
                         11 U.S.C. §§ 361, 362, 363, 364 AND 507(b)

          Upon the motion (the “Motion”)2 of Fieldwood Energy LLC (the “Borrower”) and its

affiliated debtors, each as a debtor and debtor-in-possession (collectively, the “Debtors”) in the

above captioned cases (the “Cases”), pursuant to sections 105, 361, 362, 363(b), 363(c)(2),

364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e) and 507 of title 11 of the United States Code,

11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Bankruptcy Local Rules

for the Southern District of Texas (the “Local Bankruptcy Rules”) and the Procedures for

Complex Chapter 11 Bankruptcy Cases (the “Complex Case Rules”) promulgated by the United



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            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC
(6778); Fieldwood Holdings LLC (9264); Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494);
Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC (8786); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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        Capitalized terms used herein but not otherwise defined have the meanings given to them in the DIP
Documents (as defined below).
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States Bankruptcy Court for the Southern District of Texas (the “Court”), seeking, among other

things:

          A.   authorization for the Borrower to obtain secured postpetition financing (the “DIP

Financing”) and for Fieldwood Energy Inc. (“Holdings”) and all domestic subsidiaries of the

Borrower (subject to certain exceptions set forth in the DIP Credit Agreement (as defined below)

for immaterial subsidiaries that are not Debtors) (each a “Guarantor” and collectively, the

“Guarantors”; the Guarantors collectively with the Borrower, the “Loan Parties”), to

unconditionally guaranty, on a joint and several basis, the Borrower’s obligations in connection

with the DIP Financing, consisting of a multiple-draw senior secured term loan facility (the “DIP

Facility”), in a principal amount not to exceed $100,000,000 (the actual available principal

amount at any time being subject to those conditions set forth in the DIP Documents (as defined

below)) on the terms and conditions set forth in that certain Senior Secured Debtor-in-Possession

Term Loan Credit Agreement dated August 24, 2020, among Holdings, the Borrower, the

lenders from time to time thereto (collectively, the “DIP Lenders”) and Cantor Fitzgerald

Securities as administrative agent and collateral agent (in such capacities, the “DIP Agent”; the

DIP Agent together with the DIP Lenders, the “DIP Secured Parties”), such senior secured

debtor-in-possession term loan credit agreement, as amended, supplemented or otherwise

modified from time to time in accordance with the terms hereof and thereof, the “DIP Credit

Agreement” and, together with the schedules and exhibits attached thereto and all agreements,

documents, instruments and/or amendments executed and delivered in connection therewith,

including, without limitation, the Collateral Agreement and the Guarantee Agreement (each as

defined in the DIP Credit Agreement and dated August 24, 2020, the “DIP Documents”) and to

perform all such other and further acts as may be required in connection with the DIP



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Documents, and pursuant to which DIP Facility the Borrower has borrowed from the DIP

Lenders a principal amount equal to $100,000,000 on the Closing Date (as defined in the DIP

Credit Agreement);

       B.     authorization for the Loan Parties to grant adequate protection to the Prepetition

Secured Parties (as defined below) under or in connection with certain of the following

agreements:

1.     that certain Second Amended and Restated Credit Agreement – First Out, dated as of
       June 28, 2019 (as amended by that certain Temporary Limited Forbearance and
       Amendment, dated as of May 7, 2020 (as amended, restated, amended and restated,
       supplemented or otherwise modified prior to the date hereof) and as otherwise amended,
       supplemented or otherwise modified prior to the date hereof, and the Loan Documents
       thereunder as defined therein, the “Prepetition FLFO Credit Agreement”), among,
       inter alia, Holdings, the Borrower, the lenders party thereto (the “Prepetition FLFO
       Lenders”), Goldman Sachs Bank USA, as administrative agent (in such capacity, the
       “Prepetition FLFO Administrative Agent”) and issuing bank, and Cantor Fitzgerald
       Securities, as collateral agent (in such capacity, the “Prepetition FLFO Collateral
       Agent”, together with Prepetition FLFO Administrative Agent and their successors in
       such capacities, the “Prepetition FLFO Agents” and, the “Secured Parties” under such
       Prepetition FLFO Credit Agreement the “Prepetition FLFO Secured Parties”);

2.     that certain Amended and Restated First Lien Term Loan Agreement, dated as of April
       11, 2018 (as amended by that certain First Amendment to Amended and Restated First
       Lien Term Loan Agreement, dated as of July 5, 2018, that certain Second Amendment to
       Amended and Restated First Lien Term Loan Agreement, dated as of November 11, 2019
       and that certain Temporary Limited Forbearance and Amendment, dated as of May 7,
       2020 (as amended, restated, amended and restated, supplemented or otherwise modified
       prior to the date hereof), and as otherwise amended, supplemented or otherwise modified
       prior to the date hereof, and the Loan Documents thereunder as defined therein, the
       “Prepetition FLTL Credit Agreement”), among, inter alia, Holdings, the Borrower,
       the lenders party thereto from time to time (the “Prepetition FLTL Lenders”) and
       Cantor Fitzgerald Securities, as administrative agent and collateral agent (in such
       capacities, together with its successors in such capacities, the “Prepetition FLTL
       Agent” and, the “Secured Parties” under such Prepetition FLTL Credit Agreement the
       “Prepetition FLTL Secured Parties”)

3.     that certain Amended and Restated Second Lien Term Loan Agreement dated as of April
       11, 2018 (as amended by that certain Temporary Limited Forbearance and Amendment,
       dated as of May 7, 2020 (as amended, restated, amended and restated, supplemented or
       otherwise modified prior to the date hereof), and as otherwise amended, supplemented or
       otherwise modified prior to the date hereof, and the Loan Documents thereunder as


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         defined therein, the “Prepetition SLTL Agreement”3), among, inter alia, Holdings, the
         Borrower, the lenders party thereto from time to time (the “Prepetition SLTL Lenders”
         4
           ) and Cortland Capital Markets Services LLC, as administrative agent and collateral
         agent (in such capacities, together with its successors in such capacities, the “Prepetition
         SLTL Agent”5 and, the “Secured Parties” under such Prepetition SLTL Credit
         Agreement the “Prepetition SLTL Secured Parties”6); and

4.       that certain Decommissioning Agreement, dated as of September 30, 2013 (as amended,
         supplemented or otherwise modified prior to the date hereof, and together with the
         Existing Decommissioning Related Agreements (as defined in the DIP Credit
         Agreement), the “Apache Decommissioning Agreement”), by and among Apache
         Corporation (“APA”), Apache Shelf, Inc. (“APSH”), Apache Deepwater LLC
         (“APDW”), Apache Shelf Exploration LLC (together with APA, APSH and APDW, the
         “Apache Secured Parties”), the Borrower and GOM Shelf LLC.

         C.       subject to the restrictions set forth in the DIP Documents and this Final Order,

authorization for the Loan Parties to continue to use Cash Collateral (as defined below) and all

other Prepetition Collateral in which any of the Prepetition Secured Parties have an interest, and

the granting of adequate protection to the Prepetition Secured Parties with respect to, inter alia,

such use of their Cash Collateral and the other Prepetition Collateral;

         D.       subject to certain challenge rights of parties in interest set forth herein, approval

of certain stipulations by the Debtors with respect to the Prepetition Credit Agreements and the

liens and security interests arising therefrom;



         3
           The agreements described in the preceding paragraphs B.1-3 above are collectively referred to as the
“Prepetition Credit Agreements,” and all “Collateral” (as defined in each of the Prepetition Credit Agreements,
respectively) securing the obligations under the Prepetition Credit Agreements described in the preceding
paragraphs B.1-3 is collectively referred to as the “Prepetition Collateral”. The Trust A NPI, Trust A-1 NPI, the
Trust A Account, any interest in Trust A, the Permitted Surety Bonds or the Letters of Credit (each as defined in the
Apache Decommissioning Agreement) are collectively referred to as the “Apache Collateral” and, for the
avoidance of doubt, the Prepetition Collateral does not include the Apache Collateral.
         4
           The Prepetition FLFO Lenders, the Prepetition FLTL Lenders and the Prepetition SLTL Lenders are
collectively referred to as the “Prepetition Lenders”.
         5
           The Prepetition FLFO Agents, the Prepetition FLTL Agent and the Prepetition SLTL Agent are
collectively referred to as the “Prepetition Agents”.
        6
          The Prepetition FLFO Secured Parties, the Prepetition FLTL Secured Parties and the Prepetition SLTL
Secured Parties are collectively referred to as the “Prepetition Secured Parties”.


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       E.      the grant of superpriority administrative claims pursuant to section 364(c)(1) of

the Bankruptcy Code to the DIP Secured Parties payable from, and secured by liens pursuant to

section 364(c)(2) and 364(c)(3) of the Bankruptcy Code and priming liens pursuant to section

364(d) of the Bankruptcy Code on, all prepetition and postpetition property of the Loan Parties’

estates (other than certain excluded property as provided in the DIP Documents, Avoidance

Actions (as defined below) and D&O Tort Claims (as defined below), but including Avoidance

Proceeds (as defined below) and D&O Tort Proceeds (as defined below), subject only to the

Carve-Out, the Permitted Prior Liens (as defined below), and the Unaltered Senior Prepetition

Liens and Rights (as defined below);

       F.      the waiver of the Debtors’ right to surcharge the Prepetition Collateral and the

DIP Collateral pursuant to section 506(c) of the Bankruptcy Code and of any right of the Debtors

under the “equities of the case” exception in section 552(b) of the Bankruptcy Code;

       G.      the waiver of the equitable doctrine of “marshaling” and other similar doctrines as

to the DIP Secured Parties and the Prepetition Secured Parties;

       H.      modification of the automatic stay to the extent set forth herein and in the DIP

Documents;

       I.      pursuant to Bankruptcy Rule 4001, a final hearing (the “Final Hearing”) on the

Motion to be held before this Court (and this Court having entered an interim order on August 5,

2020 [Docket No. 58] (the “Interim Order”) to consider entry of a final order (the “Final

Order”) granting the Motion and approving the relief granted herein on a final basis and

authorizing the Borrower to forthwith borrow from the DIP Lenders under the DIP Documents

up to the full principal amount of the DIP Financing and the Guarantors to unconditionally

guaranty all obligations owing to the DIP Lenders under the DIP Documents on a joint and



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several basis; and due and appropriate notice of the Motion and the Final Hearing having been

served by the Debtors on the parties identified in the Motion; and it appearing that no other or

further notice need be provided; and the Court having reviewed the Motion; and the Final

Hearing having been held by this Court on September [], 2020; and the relief requested in the

Motion being in the best interests of the Debtors, their creditors and their estates and all other

parties-in-interest in these Cases; and the Court having determined that the relief requested in the

Motion is necessary to avoid irreparable harm; and the Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon the record made by the Debtors in the Motion, in the declaration of John-Paul Hanson of

Houlihan Lokey Capital, Inc. in support of the Motion filed contemporaneously therewith

(Docket No. 23), in the Declaration of Mike Dane in Support of Chapter 11 Petitions and

Related Requests for Relief (Docket No. 29 (the “First Day Declaration”)) and at the Final

Hearing and after due deliberation and sufficient cause appearing therefor;

       IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

       1.      Disposition. The relief requested in the Motion is granted in accordance with the

terms of this Final Order. Any objections to the Motion with respect to the entry of this Final

Order that have not been withdrawn, waived or settled, and all reservations of rights included

therein, are hereby denied and overruled on the merits. This Final Order shall become effective

immediately upon its entry.

       2.      Jurisdiction. This Court has core jurisdiction over the Cases (as defined below),

this Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334

and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012)




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(Hinojosa, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      Committee Formation. On August 18, 2020, the United States Trustee for the

Southern District of Texas (the “U.S. Trustee”) appointed an official committee of unsecured

creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a “Creditors’

Committee”).

       4.      Notice. Proper, timely, adequate and sufficient notice of the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Complex Case Rules

and the Local Bankruptcy Rules, and no other or further notice of the Motion or the entry of this

Final Order shall be required. The relief granted herein is necessary to avoid irreparable harm to

the Debtors and their estates.

       5.      Debtors’ Stipulations. Without prejudice to the rights of any other party in

interest and subject to the limitations thereon contained in paragraphs 23 and 24 below, the

Debtors admit, stipulate and agree that:

                   (a) (i) as of the date (the “Petition Date”) of the filing of the Cases, the

   Borrower and the guarantors under the relevant Prepetition Credit Agreement (such

   guarantors collectively, the “Prepetition Guarantors”) were justly and lawfully indebted

   and liable to (A) the Prepetition FLFO Secured Parties, without defense, counterclaim or

   offset of any kind, in the aggregate principal amount of not less than $147,601,297 in respect

   of loans made and undrawn letters of credit issued under, and in accordance with the terms

   of, the Prepetition FLFO Credit Agreement, plus accrued and unpaid interest thereon and

   fees (including the prepayment fees payable pursuant to the Prepetition FLFO Credit

   Agreement), reimbursement obligations in respect of drawn letters of credit, expenses



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(including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in each case,

solely to the extent that they are chargeable or reimbursable under the Prepetition FLFO

Credit Agreement), charges, indemnities and other obligations incurred in connection

therewith (whether arising before or after the Petition Date) as provided in the Prepetition

FLFO Credit Agreement (collectively, the “Prepetition FLFO Debt”), which Prepetition

FLFO Debt has been guaranteed on a joint and several basis by the guarantors under the

Prepetition FLFO Credit Agreement; (B) the Prepetition FLTL Secured Parties, without

defense, counterclaim or offset of any kind, in the aggregate principal amount of not less than

$1,142,688,815.28 in respect of loans made under, and in accordance with the terms of, the

Prepetition FLTL Credit Agreement, plus accrued and unpaid interest thereon and fees,

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in

each case, solely to the extent that they are chargeable or reimbursable under the Prepetition

FLTL Credit Agreement), charges, indemnities and other obligations incurred in connection

therewith (whether arising before or after the Petition Date) as provided in the Prepetition

FLTL Credit Agreement (collectively, the “Prepetition FLTL Debt”), which Prepetition

FLTL Debt has been guaranteed on a joint and several basis by the guarantors under the

Prepetition FLTL Credit Agreement; (C) the Prepetition SLTL Secured Parties, without

defense, counterclaim or offset of any kind, in the aggregate principal amount of not less than

$517,500,000 in respect of loans made under, and in accordance with the terms of, the

Prepetition SLTL Credit Agreement, plus accrued and unpaid interest thereon and fees,

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in

each case, solely to the extent that they are chargeable or reimbursable under the Prepetition

SLTL Credit Agreement), charges, indemnities and other obligations incurred in connection



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therewith (whether arising before or after the Petition Date) as provided in the Prepetition

SLTL Credit Agreement (collectively, the “Prepetition SLTL Debt” and, together with the

Prepetition FLFO Debt and the Prepetition FLTL Debt, the “Prepetition Debt”), which

Prepetition SLTL Debt has been guaranteed on a joint and several basis by the guarantors

under the Prepetition SLTL Credit Agreement, (ii) the Prepetition Debt constitutes the legal,

valid and binding obligations of the Borrower and the applicable Prepetition Guarantors,

enforceable in accordance with its terms (other than in respect of the stay of enforcement

arising from section 362 of the Bankruptcy Code); and (iii) no portion of the Prepetition Debt

or any payments made to the Prepetition Secured Parties or applied to or paid on account of

the obligations owing under the Prepetition Credit Agreements prior to the Petition Date is

subject to any contest, attack, rejection, recovery, recoupment, reduction, defense,

counterclaim, offset, subordination, recharacterization, avoidance or other claim, cause of

action or other challenge of any nature under the Bankruptcy Code or applicable non-

bankruptcy law;

               (b) the liens and security interests granted to the Prepetition Secured Parties

(the “Prepetition Liens”) pursuant to and in connection with the Prepetition Credit

Agreements, are: (i) valid, binding, perfected, enforceable liens and security interests in the

Prepetition Collateral; (ii) not subject to avoidance, recharacterization, subordination,

recovery, attack, effect, counterclaim, defense or claim under the Bankruptcy Code or

applicable non-bankruptcy law; and (iii) as of the Petition Date are subject and subordinate

only to valid, non-avoidable liens that are entitled to priority senior to the Prepetition Liens

under applicable law and (A) were perfected as of the Petition Date or (B) were in existence

immediately prior to the Petition Date and are perfected subsequent to the Petition Date as



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permitted by section 546(b) of the Bankruptcy Code, to the extent that such permitted liens

are senior to liens in favor of the Prepetition FLFO Secured Parties and the Prepetition FLTL

Secured Parties (the “Permitted Prior Liens”);

               (c) by virtue of any of the actions taken with respect to, in connection with,

related to or arising from the Prepetition Debt, none of the Prepetition Secured Parties control

the Debtors or their properties or operations, have authority to determine the manner in

which any Debtor’s operations are conducted or are control persons or insiders of the

Debtors;

               (d) the liens granted to the DIP Agent on behalf of the DIP Secured Parties

pursuant to this Final Order are perfected, valid, enforceable and non-avoidable liens against

the Debtors;

               (e) no claims or causes of action exist against, or with respect to, the

Prepetition Secured Parties under the Prepetition Credit Agreements;

               (f) effective as of the date of entry of this Final Order, each of the Debtors

and the Debtors’ estates, on its own behalf and on behalf of its past, present and future

predecessors, successors, subsidiaries, heirs and assigns, hereby absolutely and

unconditionally release and forever discharge and acquit the DIP Secured Parties and

Prepetition Secured Parties and their respective Representatives (as defined below)

(collectively, the “Released Parties”) from any and all obligations and liabilities to the

Debtors (and their successors and assigns) and from any and all claims, demands, liabilities,

responsibilities, disputes, remedies, causes of action, indebtedness and obligations, rights,

assertions, allegations, actions, suits, controversies, proceedings, losses, damages, injuries,

attorneys’ fees, costs, expenses, or judgments of every type, whether known, unknown,



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asserted, unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent, pending,

or threatened (collectively, the “Released Claims”) including, without limitation, all legal

and equitable theories of recovery, arising under common law, statute or regulation or by

contract, of every nature and description that exist on the date hereof relating to any of the

Prepetition Credit Agreements, or the transactions contemplated thereunder, the negotiation

thereof and of the deal reflected thereby, and the obligations and financial obligations made

thereunder, in each case that the Debtors at any time had, now have or may have, or that their

successors or assigns hereafter can or may have against any of the Released Parties for or by

reason of any act, omission, matter, cause or thing whatsoever arising at any time on or prior

to the date of this Final Order, whether such Released Claims are matured or unmatured or

known or unknown;

               (g) (i) that certain Pari Passu Intercreditor Agreement dated as of April 11,

2018 (as amended by that certain Joinder No. 4 dated as of June 28, 2019 and as otherwise

amended, supplemented or otherwise modified from time to time prior to the date hereof, the

“First Lien Pari Passu Intercreditor Agreement”), and (ii) that certain Intercreditor

Agreement, dated as of April 11, 2018 (as amended, supplemented or otherwise modified

from time to time prior to the date hereof, the “Second Lien Intercreditor Agreement” and,

together with the First Lien Pari Passu Intercreditor Agreement, the “Intercreditor

Agreements”), are binding and enforceable against the Borrower, Prepetition Guarantors,

and the Prepetition Secured Parties party thereto, in accordance with their terms, and the

Borrower, Prepetition Guarantors, and Prepetition Secured Parties are not entitled to take any

actions that would be contrary to the provisions thereof; and




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               (h) all cash, securities or other property of the Loan Parties (and the proceeds

therefrom) as of the Petition Date, including, without limitation, all cash, securities or other

property (and the proceeds therefrom) and other amounts on deposit or maintained by the

Loan Parties in any account or accounts with any Prepetition Secured Party or any branch or

agency thereof (the “Depository Institutions”) were subject to rights of set-off under the

Prepetition Credit Agreements and applicable law, for the benefit of the Prepetition Secured

Parties. All proceeds of the Prepetition Collateral (including cash on deposit at the

Depository Institutions as of the Petition Date, securities or other property, whether subject to

control agreements or otherwise, in each case that constitutes Prepetition Collateral) are

“cash collateral” of the Prepetition Secured Parties within the meaning of section 363(a) of

the Bankruptcy Code (the “Cash Collateral”).

   6.      Findings Regarding the DIP Financing and Cash Collateral.

               (a) Good and sufficient cause has been shown for the entry of this Final

Order.

               (b) The Loan Parties need to continue to use the Prepetition Collateral

(including the Cash Collateral) to preserve their estates, including (i) to consummate the

prenegotiated plan contemplated under the “Restructuring Support Agreement” filed as

Exhibit B to the First Day Declaration, (ii) for the orderly continuation of the operation of

their businesses, (iii) to preserve business relationships with vendors, suppliers, employees,

and customers, and (iv) to satisfy other working capital and operational needs. The Loan

Parties need to have available the DIP Facility in case the Prepetition Collateral (including

Cash Collateral) is insufficient to meet their capital and liquidity needs. The access of the

Loan Parties to sufficient working capital and liquidity through the use of Cash Collateral



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and other Prepetition Collateral, incurrence of new indebtedness under the DIP Documents

and other financial accommodations provided under the DIP Documents are necessary and

vital to the preservation and maintenance of the going concern values of the Loan Parties and

to a successful reorganization of the Loan Parties.

               (c) The Loan Parties are unable to obtain financing on more favorable terms

from sources other than the DIP Lenders under the DIP Documents and are unable to obtain

adequate unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an

administrative expense. The Loan Parties are also unable to obtain secured credit allowable

under sections 364(c)(1), 364(c)(2) and 364(c)(3) of the Bankruptcy Code without the Loan

Parties granting to the DIP Agent and the DIP Lenders, subject to the Carve-Out, the DIP

Liens and the DIP Superpriority Claims (as defined below) and incurring the Adequate

Protection, in each case, under the terms and conditions set forth in this Final Order and in

the DIP Documents.

               (d) Based on the Motion, the declarations filed in support of the Motion, and

the record presented to the Court at the Final Hearing, the terms of the DIP Financing, the

terms of the Adequate Protection granted to the Prepetition Secured Parties, and the terms on

which the Loan Parties may continue to use the Prepetition Collateral (including Cash

Collateral) pursuant to this Final Order and the DIP Documents are fair and reasonable,

reflect the Loan Parties’ exercise of prudent business judgment consistent with their fiduciary

duties and constitute reasonably equivalent value and fair consideration.

               (e) Upon the terms and conditions set forth herein, the Prepetition Secured

Parties have consented, or pursuant to the Intercreditor Agreements are deemed to have

consented, to the use of Cash Collateral and the other Prepetition Collateral, the Debtors’



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entry into the DIP Documents and, in the case of the Prepetition Secured Parties, the priming

of the liens granted to the Prepetition Secured Parties pursuant to Section 364(d)(1) of the

Bankruptcy Code.

               (f) The DIP Financing, as well as the terms of the Adequate Protection and

Adequate Protection Liens (each as defined below), and the use of the Prepetition Collateral

(including Cash Collateral) have been negotiated in good faith and at arm’s length among the

Loan Parties, the DIP Agent and the DIP Lenders and all of the Loan Parties’ obligations and

indebtedness arising under, in respect of, or in connection with, the DIP Financing and the

DIP Documents, including, without limitation: (i) all loans made to and guarantees issued by

the Loan Parties pursuant to the DIP Documents (collectively, the “DIP Loans”) and (ii) any

“Loan Obligations” (as defined in the DIP Credit Agreement) of the Loan Parties owing to

the DIP Agent, any DIP Lender or any of their respective affiliates, in accordance with the

terms of the DIP Documents, including any obligations, to the extent provided for in the DIP

Documents, to indemnify the DIP Agent or the DIP Lenders and to pay any fees, expenses

(including any attorneys’, accountants’, appraisers’ and financial advisors’ fees that are

chargeable or reimbursable under the DIP Documents), amounts, charges, costs, indemnities

and other obligations that are chargeable or reimbursable under this Final Order or the DIP

Documents (the foregoing in clauses (i) and (ii) collectively, the “DIP Obligations”), shall

be deemed to have been extended by the DIP Agent and the DIP Secured Parties and their

respective affiliates in good faith, as that term is used in section 364(e) of the Bankruptcy

Code and in express reliance upon the protections offered by section 364(e) of the

Bankruptcy Code, and the DIP Agent and the DIP Lenders (and the successors and assigns

thereof) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in



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the event that this Final Order or any provision hereof is vacated, reversed or modified, on

appeal or otherwise. The Prepetition Secured Parties have acted in good faith regarding the

DIP Financing and the Loan Parties’ continued use of the Prepetition Collateral (including

the Cash Collateral) to fund the administration of the Loan Parties’ estates and continued

operation of their businesses (including the incurrence and payment of the Adequate

Protection and the granting of the Adequate Protection Liens), in accordance with the terms

hereof, and the Prepetition Secured Parties (and the successors and assigns thereof), and shall

be entitled to the full protection of section 363(m) of the Bankruptcy Code in the event that

this Final Order or any provision hereof is vacated, reversed or modified, on appeal or

otherwise.

               (g) The Prepetition Secured Parties are entitled to the Adequate Protection as

and to the extent set forth herein pursuant to sections 361, 362, 363 and 364 of the

Bankruptcy Code to the extent of any diminution in value of the Prepetition Collateral.

Based on the Motion and on the record presented to the Court, the terms of the proposed

adequate protection arrangements and of the use of the Prepetition Collateral (including the

Cash Collateral) are fair and reasonable, reflect the Loan Parties’ prudent exercise of

business judgment and constitute reasonably equivalent value and fair consideration for the

use of Cash Collateral; provided that nothing in this Final Order or the other DIP Documents

shall (x) be construed as the affirmative consent by any of the Prepetition Secured Parties for

the use of Cash Collateral, other than on the terms set forth in this Final Order and in the

context of the DIP Financing authorized by this Final Order, (y) be construed as a consent by

any party to the terms of any other financing or any other lien encumbering the Prepetition

Collateral (whether senior or junior) or (z) prejudice, limit or otherwise impair the rights of



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any of the Prepetition Secured Parties, subject to any applicable provisions of the

Intercreditor Agreements and upon a change in circumstances, to seek new, different or

additional adequate protection or assert the interests of any of the Prepetition Secured Parties.

                (h) The Debtors have requested entry of this Final Order pursuant to

Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the Local Bankruptcy Rules. For the

reasons set forth in the Motion and declarations filed in connection therewith, absent granting

the relief set forth in this Final Order, the Loan Parties’ estates would face (i) significant

business disruptions from the loss of access to Cash Collateral, (ii) exposure to significant

liquidity uncertainty in the current commodities market, and (iii) loss of confidence regarding

financial wherewithal by stakeholders, all of which would lead to irreparable harm.

Consummation of the DIP Financing and the use of Prepetition Collateral, including Cash

Collateral, in accordance with this Final Order and the DIP Documents are therefore in the

best interests of the Loan Parties’ estates and consistent with the Loan Parties’ exercise of

their fiduciary duties.

    7.      Authorization of the DIP Financing and the DIP Documents.

                (a) The DIP Financing is approved on a final basis. The Borrower is hereby

authorized to forthwith borrow up to the full principal amount of money pursuant to the DIP

Credit Agreement, and the Guarantors are hereby authorized to guaranty the Borrower’s

obligations with respect to such borrowings (plus interest, fees, expenses (including

professional fees and expenses) and other amounts, in each case, as provided for in the DIP

Documents), subject to any limitations on borrowing under the DIP Documents, which shall

be used for all purposes permitted under the DIP Documents (and subject to the terms and

conditions set forth herein and therein), including to (v) make payments for general corporate



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   or working capital purposes in a manner consistent with the then-current Approved Budget

   (as defined in the DIP Credit Agreement) subject to permitted variances, (w) pay required

   debt service on the DIP Loans, (x) pay the fees, costs and expenses of the DIP Agent and the

   DIP Lenders, (y) pay fees, costs and expenses of professionals associated with the Cases and

   (z) provide adequate protection as provided in paragraphs 14 through 21 of this Final Order

   (the “Adequate Protection”).

                   (b) In furtherance of the foregoing and without further approval of this Court,

   each Debtor is authorized and directed to perform all acts, to make, execute and deliver all

   agreements, instruments and documents (including, without limitation, the execution or

   recordation of security agreements, mortgages and financing statements), and to pay all fees

   and expenses and to undertake all actions that may be reasonably required or necessary for

   the Loan Parties’ performance of their obligations under or related to the DIP Financing,

   including, without limitation:

                       (i)    the execution and delivery of, and performance under, each of the

DIP Documents;

                       (ii)   the execution and delivery of, and performance under, one or more

amendments, waivers, consents or other modifications or supplements to and under the DIP

Documents, in each case, in such form as the Loan Parties, the DIP Agent and the Required

Lenders (as defined in the DIP Credit Agreement) may agree, it being understood that no further

approval of the Court shall be required for amendments, waivers, consents or other modifications

or supplements to and under the DIP Documents (and any fees and other expenses (including any

attorneys’, accountants’, appraisers’ and financial advisors’ fees), amounts, charges, costs,

indemnities and other obligations paid in connection therewith) that do not shorten the maturity



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of the extensions of credit thereunder or increase the aggregate commitments or the rate of

interest payable thereunder; provided that the Creditors’ Committee shall be provided with any

such amendments, waivers, consents or other modifications or supplements to and under the DIP

Documents at least five (5) days (or such later date as the Creditors’ Committee may agree) prior

to the execution or delivery thereof (unless exigent circumstances prevent the Debtors from

providing 5 days prior notice, in which case the Debtors shall provide as much notice as

possible) and the Creditors’ Committee’s right to object to any of the foregoing shall be

expressly preserved;

                       (iii)   the non-refundable payment to the DIP Agent or the DIP Lenders,

as the case may be, of all fees including, without limitation, any upfront fee, backstop fee,

commitment fee, seasoning fee or agency fee (which fees shall be, and shall be deemed to have

been, approved upon entry of this Final Order and upon payment thereof, shall not be subject to

any contest, attack, rejection, recoupment, reduction, defense, counterclaim, offset,

subordination, recharacterization, avoidance or other claim, cause of action or other challenge of

any nature under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise), and

any amounts due (or that may become due) in respect of the indemnification obligations, in each

case provided for in the DIP Credit Agreement (and in any separate letter agreements between

any or all Loan Parties, on the one hand, and the DIP Agent and/or DIP Lenders, on the other, in

connection with the DIP Financing) and the costs and expenses as may be due from time to time,

including, without limitation, fees and expenses of the professionals retained by any of the DIP

Agent or DIP Lenders (including, without limitation, the documented fees and expenses of

Shipman & Goodwin LLP, as counsel to the DIP Agent, Davis Polk & Wardwell LLP as primary

counsel to certain DIP Lenders, Haynes and Boone LLP as local counsel to certain DIP Lenders



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in the State of Texas, Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis & Eagan, LLC

as regulatory counsel to certain DIP Lenders and Rothschild & Co US Inc. and Intrepid Partners,

LLC as financial advisors to certain DIP Lenders), in each case, as provided for in the DIP

Documents, without the need to file retention motions or fee applications or to provide notice to

any party, subject to paragraph 14(e) hereof; and

                      (iv)    the performance of all other acts required under or in connection

with the DIP Documents, including the granting of the DIP Liens and DIP Superpriority Claims

and perfection of the DIP Liens and the DIP Superpriority Claims as permitted herein and

therein.

                  (c) Upon execution and delivery of the DIP Documents, the DIP Documents

   shall constitute valid, binding and non-avoidable obligations of the Loan Parties, enforceable

   against each Loan Party in accordance with the terms of the DIP Documents and this Final

   Order. No obligation, payment, transfer or grant of security under the DIP Documents or this

   Final Order to the DIP Agent and/or the DIP Lenders shall be stayed, restrained, voidable or

   recoverable under the Bankruptcy Code or under any applicable law (including, without

   limitation, under sections 502(d), 548 or 549 of the Bankruptcy Code, any applicable

   Uniform Voidable Transfer Act, Uniform Fraudulent Transfer Act, Uniform Fraudulent

   Conveyance Act or other similar state statute or common law), or subject to any defense,

   reduction, setoff, recoupment, recharacterization, subordination, disallowance, impairment,

   cross-claim, claim or counterclaim, subject to paragraph 14(e) hereof, as applicable.

       8.      DIP Superpriority Claims.

                  (a) Pursuant to section 364(c)(1) of the Bankruptcy Code, all of the DIP

   Obligations shall constitute allowed superpriority administrative expense claims against the



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Loan Parties (without the need to file any proof of claim) with priority over any and all

claims against the Loan Parties, now existing or hereafter arising, of any kind whatsoever,

including, without limitation, any and all administrative expenses or other claims arising

under sections 105, 326, 328, 330, 331, 365, 503(b), 506(c), 507(a), 507(b), 726, 1113 or

1114 of the Bankruptcy Code, whether or not such expenses or claims may become secured

by a judgment lien or other non-consensual lien, levy or attachment, which allowed claims

(the “DIP Superpriority Claims”) shall for purposes of section 1129(a)(9)(A) of the

Bankruptcy Code be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code, and which DIP Superpriority Claims shall be payable from and have

recourse to all pre- and postpetition property of the Loan Parties and all proceeds thereof

(excluding (i) commercial tort claims against the Debtors’ officers and directors (“D&O

Tort Claims”) and (ii) the Loan Parties’ avoidance claims and causes of action under

sections 105, 502(d), 544, 545, 547, 548, 549 and 550 of the Bankruptcy Code, or any other

avoidance actions under any other state or federal law or the Bankruptcy Code (collectively,

“Avoidance Actions”), but including (x) any proceeds or property recovered, unencumbered

or otherwise from Avoidance Actions, whether by judgment, settlement or otherwise

(“Avoidance Proceeds”) and (y) any proceeds or property recovered, unencumbered or

otherwise from D&O Tort Claims, whether by judgment, settlement or otherwise (“D&O

Tort Proceeds”), provided that the DIP Superpriority Claims shall be subordinated and

subject only to payment of the Carve-Out. The DIP Superpriority Claims shall be entitled to

the full protection of section 364(e) of the Bankruptcy Code in the event that this Final Order

or any provision hereof is vacated, reversed or modified, on appeal or otherwise.




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                (b) For purposes hereof, the “Carve-Out” is an amount equal to the sum of (i)

all fees required to be paid to the clerk of the Court and to the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the

statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and

expenses incurred by a chapter 7 trustee under section 726(b) of the Bankruptcy Code in an

amount not to exceed $100,000 (without regard to the notice set forth in (iii) below); and (iii)

(A) all unpaid claims for fees, costs, disbursements and expenses to the extent allowed at any

time, whether by interim order, final order, procedural order or otherwise of persons or firms

retained by the Debtors or the Creditors’ Committee pursuant to sections 105, 327, 328, 363,

503 or 1129 of the Bankruptcy Code (collectively, the “Professional Fees”) incurred at any

time on or prior to the Trigger Notice, plus (B) Professional Fees incurred after the Trigger

Notice in an amount not to exceed $6,000,000, of professionals retained by the Debtors and

the Creditors’ Committee; provided, that under no circumstances shall any success,

completion, or similar fees be payable from the Carve-Out following delivery of a Trigger

Notice (the “Carve-Out Cap”), in each case subject to the limits imposed by this Final Order

or otherwise on Professional Fees permitted to be incurred in connection with any permitted

investigation of the claims, liens and defenses against any Prepetition Secured Party;

provided, that nothing herein shall be construed to impair the ability of any party to object to

the fees, expenses, reimbursement or compensation described in clauses (i), (ii), (iii)(A) or

(iii)(B) above, on any other grounds. “Trigger Notice” shall mean a written notice delivered

by the DIP Agent, at the direction of the Required Lenders under the DIP Documents, to the

Debtors, counsel to the Creditors’ Committee and the U.S. Trustee, describing the event of

default that is alleged to continue under the DIP Documents. Immediately upon delivery of a



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Trigger Notice, and prior to the payment to any Prepetition Secured Party on account of the

Adequate Protection or otherwise, the Debtors shall be required to deposit, in a segregated

interest-bearing account not subject to the control of the DIP Agent or the Prepetition Agents

(the “Carve-Out Account”), an amount equal to the Carve-Out Cap. The funds on deposit in

the Carve-Out Account shall be available only to satisfy obligations benefitting from the

Carve-Out, and the DIP Agent and the Prepetition Agents, each on behalf of itself and the

relevant secured parties, (i) shall not sweep or foreclose on cash of the Debtors necessary to

fund the Carve-Out Account and (ii) shall have a security interest upon any residual interest

in the Carve-Out Account available following satisfaction in cash in full of all obligations

benefitting from the Carve-Out.

               (c) Notwithstanding the foregoing, (x) the Carve-Out shall not include, apply

to or be available for any fees or expenses incurred by any party in connection with (a) the

investigation, initiation or prosecution of any claims, causes of action, adversary proceedings

or other litigation, or assertions of any defense or counterclaim, against any of the DIP

Lenders, the DIP Agent, and after the expiration of the Challenge Period, the Prepetition

Lenders or each of the Prepetition Agents, each in such capacity, and their respective agents,

attorneys, advisors or representatives, including challenging the amount, validity, perfection,

priority or enforceability of or asserting any defense, counterclaim or offset to, the

obligations and the liens and security interests granted under the DIP Documents or the

Prepetition Credit Agreements (whether in such capacity or otherwise), including, in each

case, without limitation, for lender liability or pursuant to section 105, 506(c), 510, 544, 547,

548, 549, 550, or 552 of the Bankruptcy Code, applicable non-bankruptcy law or otherwise;

(b) attempts to modify any of the rights granted to the DIP Lenders, the DIP Agent or the



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   Prepetition Secured Parties; (c) attempts to prevent, hinder or otherwise delay any of the DIP

   Lenders’ or the DIP Agent’s assertion, enforcement or realization upon any DIP Collateral or

   Prepetition Collateral in accordance with the DIP Documents and the Final Order other than

   to seek a determination that an Event of Default (as defined in the DIP Credit Agreement)

   has not occurred or is not continuing; or (d) paying any amount on account of any claims

   arising before the commencement of the Cases unless such payments are approved by an

   order of the Court, including the Final Order, and (y) prior to the delivery of the Trigger

   Notice, the Carve-Out shall not be reduced by the payment or incurrence of Professional Fees

   allowed at any time by the Court. Further, notwithstanding anything to the contrary in this

   Final Order, nothing contained in this Final Order, any Approved Budget or any other DIP

   Documents shall in any way constitute a cap or limitation on the amount of fees and expenses

   that the Creditors’ Committee may incur and seek payment of as an administrative expense

   claim, and all such rights are expressly preserved. Further, notwithstanding anything to the

   contrary in this Final Order, the failure of the Carve-Out Account to satisfy in full the

   Professional Fees shall not affect the priority of the Carve-Out. For the avoidance of doubt,

   nothing herein shall modify or limit the rights of the Loan Parties set forth in the DIP Credit

   Agreement or limit their use of the Carve-Out in connection with such rights.

       9.      DIP Liens. As security for the DIP Obligations, effective and perfected upon the

Closing Date and without the necessity of the execution, recordation of filings by the Loan

Parties of mortgages, security agreements, control agreements, pledge agreements, financing

statements or other similar documents, any notation of certificates of title for a titled good, or the

possession or control by the DIP Agent of, or over, any DIP Collateral, the following security

interests and liens are hereby granted to the DIP Agent for its own benefit and the benefit of the



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DIP Lenders (all property identified in clauses (a), (b), (c) and (d) below being collectively

referred to as the “DIP Collateral”; provided, that for the avoidance of doubt, the Apache

Collateral shall not constitute DIP Collateral and the DIP Collateral shall be subject to the

provisions of paragraphs 14(h) and 15(f) herein), in each case subject to the payment of the

Carve-Out (all such liens and security interests granted to the DIP Agent, for its benefit and for

the benefit of the DIP Lenders, pursuant to this Final Order and the DIP Documents, the “DIP

Liens”):

                   (a) First Lien On Unencumbered Property. Pursuant to section 364(c)(2) of

   the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected first priority

   senior security interest in and lien upon all tangible and intangible pre- and postpetition

   property of the Loan Parties, whether existing on the Petition Date or thereafter acquired,

   that, on or as of the Petition Date, is not subject to either (x) valid, perfected and non-

   avoidable liens as of the Petition Date, or (y) valid and non-avoidable liens in existence at the

   time of such commencement that are perfected subsequent to such commencement as

   permitted by Section 546(b) of the Bankruptcy Code (collectively, “Unencumbered

   Property”), in each case other than: (i) the Excluded Assets and Excluded Equity Interests

   (each as defined in the DIP Credit Agreement), but including any proceeds of Excluded

   Assets and Excluded Equity Interests that do not otherwise constitute Excluded Assets or

   Excluded Equity Interests, (ii) D&O Tort Claims, and (iii) Avoidance Actions, but including

   the Avoidance Proceeds and D&O Tort Proceeds;

                   (b) Liens Priming Certain Prepetition Liens. Pursuant to section 364(d)(1) of

   the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected senior

   priming security interest in and lien upon all pre- and postpetition property of each Loan



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Party whether now existing or hereafter acquired, of the same nature, scope and type as the

collateral securing the Prepetition Debt; provided, that such lien shall be (i) junior to the

Permitted Prior Liens and the Unaltered Senior Prepetition Liens and Rights and (ii) pari

passu with valid and perfected liens in favor of hedge counterparties in connection with

secured hedging transactions entered into by the Debtors on a post-petition basis in

accordance with the DIP Documents (the “Hedging Liens”). Such security interests and

liens shall be senior in all respects to the interests of the Prepetition Secured Parties in such

property arising from current and future liens of the Prepetition Secured Parties (including,

without limitation, the Adequate Protection Liens granted to the Prepetition Secured Parties)

(collectively, the “Primed Liens”); provided, however, that the DIP Liens shall not be

secured by the Apache Collateral and the rights of the Apache Secured Parties set forth in the

Restructuring Support Agreement are not amended or modified by the terms of this Final

Order; provided, further, that, for the avoidance of doubt, nothing herein provides that the

DIP Liens are deemed to prime any valid, non-avoidable (j) liens, including statutory liens,

contractual liens, or otherwise (but excluding Primed Liens), or rights that were perfected

and entitled to priority senior to the Prepetition Liens as of the Petition Date; (k) liens,

including statutory liens, contractual liens, or otherwise (but excluding Primed Liens), or

contractual rights entitled to priority senior to the Prepetition Liens that were in existence

immediately prior to the Petition Date and are perfected subsequent to the Petition Date as

permitted by section 546(b) of the Bankruptcy Code; (l) privileges under Louisiana state law

that are entitled to priority senior to the Prepetition Liens for which valid statements of

privilege either were filed prior to the Petition Date or may be filed subsequent to the Petition

Date as permitted by section 546(b) of the Bankruptcy Code; (m) valid, contractual setoff



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rights (A) that were in existence at the Petition Date, (B) of any person other than Prepetition

Secured Parties, and (C) not contractually or legally subject or subordinate to the Prepetition

Liens; or (n) valid recoupment rights (A) of any person other than Prepetition Secured Parties

and (B) that are not contractually or legally subject or subordinate to the Prepetition Liens.

The liens and rights in the forgoing subsections (j) - (n), collectively, shall herein be referred

to as the “Unaltered Senior Prepetition Liens and Rights.”

               (c) Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected security interest

in and lien upon all tangible and intangible pre- and postpetition property of each Loan Party

other than the property described in clauses (a) and (b) of this paragraph 9 that is subject to

either (i) valid, perfected and non-avoidable liens in existence at the time of the

commencement of the Cases (other than the Primed Liens) or (ii) valid and non-avoidable

liens (other than Primed Liens) in existence at the time of such commencement that are

perfected subsequent to such commencement as permitted by Section 546(b) of the

Bankruptcy Code, in each case other than (x) the Excluded Assets and the Excluded Equity

Interests, but including any proceeds of Excluded Assets and Excluded Equity Interests that

do not constitute Excluded Assets or Excluded Equity Interests, (y) D&O Tort Claims, and

(z) Avoidance Actions, but including Avoidance Proceeds and D&O Tort Proceeds, which

shall be junior and subordinate to any valid, perfected and non-avoidable Unaltered Senior

Prepetition Liens and Rights; and

               (d) Liens Senior to Certain Other Liens. The DIP Liens shall not be (i)

subject or subordinate to or made pari passu with (A) any lien or security interest that is

avoided and preserved for the benefit of the Loan Parties and their estates under section 551



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of the Bankruptcy Code, (B) unless otherwise provided for in the DIP Documents or in this

Final Order, any liens or security interests arising after the Petition Date, including, without

limitation, any liens or security interests granted in favor of any federal, state, municipal or

other governmental unit (including any regulatory body), commission, board or court for any

liability of the Loan Parties, or (C) any intercompany or affiliate liens of the Loan Parties or

security interests of the Loan Parties; or (ii) subordinated to or made pari passu with any

other lien or security interest under section 363 or 364 of the Bankruptcy Code granted after

the date hereof.

   10.     Protection of DIP Lenders’ Rights.

               (a) So long as there are any DIP Obligations outstanding or the DIP Lenders

have any outstanding Commitments (as defined in the DIP Credit Agreement) (the “DIP

Commitments”) under the DIP Credit Agreement and the Prepetition Secured Parties shall:

(i) have no right to and shall take no action to foreclose upon, or recover in connection with,

the liens granted thereto pursuant to the Prepetition Credit Agreements or this Final Order, or

otherwise seek to exercise or enforce any rights or remedies against such DIP Collateral or

the Adequate Protection Liens; (ii) be deemed to have consented to any transfer, disposition

or sale of, or release of liens on, such DIP Collateral (but not any proceeds of such transfer,

disposition or sale to the extent remaining after payment in cash in full of the DIP

Obligations and termination of the DIP Commitments), to the extent such transfer,

disposition, sale or release is authorized under the DIP Documents; (iii) not file any further

financing statements, trademark filings, copyright filings, mortgages, notices of lien or

similar instruments, or otherwise take any action to perfect their security interests in such

DIP Collateral unless, solely as to this clause (iv), the DIP Agent or the DIP Lenders file



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financing statements or other documents to evidence the perfection of the liens granted

pursuant to this Final Order, or as may be required by applicable state law to continue the

perfection of valid and non-avoidable liens or security interests as of the Petition Date and

(v) deliver or cause to be delivered, at the Loan Parties’ cost and expense, any termination

statements, releases and/or assignments in favor of the DIP Agent or the DIP Lenders or

other documents necessary to effectuate and/or evidence the release, termination and/or

assignment of liens on any portion of such DIP Collateral subject to any sale or disposition.

               (b) To the extent any Prepetition Secured Party has possession of any

Prepetition Collateral or DIP Collateral or has control with respect to any Prepetition

Collateral or DIP Collateral, or has been noted as secured party on any certificate of title for a

titled good constituting Prepetition Collateral or DIP Collateral, then such Prepetition

Secured Party shall be deemed to maintain such possession or notation or exercise such

control as a gratuitous bailee and/or gratuitous agent for perfection for the benefit of the DIP

Agent and the DIP Lenders and shall comply with the instructions of the DIP Agent with

respect to the exercise of such control.

               (c) If any DIP Loans are outstanding, (i) any proceeds of Prepetition

Collateral subject to the Primed Liens received by any Prepetition Secured Party in

connection with the exercise of any right or remedy (including setoff) relating to the

Prepetition Collateral or otherwise received by any Prepetition Secured Party, except as

specifically provided in this Final Order as Adequate Protection, shall be segregated and held

in trust for the benefit of and forthwith paid over to the DIP Agent for the benefit of the DIP

Secured Parties in the same form as received, with any necessary endorsements, or as a court

of competent jurisdiction may otherwise direct and (ii) the DIP Agent is hereby authorized to



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make any such endorsements as agent for any such Prepetition Secured Party and such

authorization is coupled with an interest and is irrevocable.

               (d) The automatic stay provisions of section 362 of the Bankruptcy Code are

hereby modified to the extent necessary to permit the DIP Agent, acting at the direction of

the Required Lenders, to enforce all of their rights under the DIP Documents (subject to the

terms of this Final Order) and (i) immediately upon the occurrence of an Event of Default,

declare (A) the termination, reduction or restriction of any further DIP Commitment to the

extent any such DIP Commitment remains and (B) all DIP Obligations to be immediately due

and payable, without presentment, demand, protest, or other notice of any kind, all of which

are expressly waived by the Loan Parties and (ii) upon the occurrence of an Event of Default

and the giving of five business days’ prior written notice (which shall run concurrently with

any notice required to be provided under the DIP Documents) (such period, the “Remedies

Notice Period”) via email to counsel to the Debtors, counsel to the Creditors’ Committee

and the U.S. Trustee to (A) withdraw consent to the Loan Parties’ continued use of Cash

Collateral and (B) exercise all other rights and remedies provided for in the DIP Documents

and under applicable law (subject to the terms of this Final Order). Following the delivery of

such notice, the DIP Agent may file a motion (the “Stay Relief Motion”) seeking emergency

relief from the automatic stay. In any hearing regarding any exercise of rights or remedies

under the DIP Documents, the Debtors and/or the Creditors’ Committee may seek relief from

the Court seeking to stay the DIP Facility Agent’s exercise of any rights and remedies

(including seeking to use Cash Collateral on a non-consensual basis). The Debtors shall not

object to any motion for such a hearing to be heard on shortened notice. Until such time as

the Stay Relief Motion has been adjudicated by the Court, the Debtors may use the proceeds



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   of the DIP Facility (to the extent drawn prior to the occurrence of the Event of Default (as

   defined in the DIP Credit Agreement)) or Cash Collateral to fund operations in accordance

   with the DIP Credit Agreement.

                  (e) In no event shall the DIP Agent or the DIP Lenders be subject to the

   equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral;

   provided, that the DIP Agent and DIP Lenders shall use commercially reasonable efforts to

   first apply proceeds from DIP Collateral other than Avoidance Proceeds and/or D&O Tort

   Proceeds to satisfy outstanding DIP Obligations before applying Avoidance Proceeds and/or

   D&O Tort Proceeds to satisfy the DIP Obligations.

                  (f) No rights, protections or remedies of the DIP Agent or the DIP Lenders

   granted by the provisions of this Final Order or the DIP Documents shall be limited,

   modified or impaired in any way by: (i) any actual or purported withdrawal of the consent of

   any party to the Loan Parties’ authority to continue to use Cash Collateral (ii) any actual or

   purported termination of the Loan Parties’ authority to continue to use Cash Collateral; or

   (iii) the terms of any other order or stipulation related to the Loan Parties’ continued use of

   Cash Collateral or the provision of adequate protection to any party.

       11.     Limitation on Charging Expenses Against DIP Collateral. Except to the extent of

the Carve-Out, no costs or expenses of administration of the Cases or any future proceeding that

may result therefrom, including liquidation in bankruptcy or other proceedings under the

Bankruptcy Code, shall be charged against or recovered from the DIP Collateral pursuant to

section 506(c) of the Bankruptcy Code or any similar principle of law, without the prior written

consent of the DIP Agent, acting at the written direction of the Required Lenders, and no such

consent shall be implied from any other action, inaction, or acquiescence by the DIP Agent, or



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the DIP Lenders. For the avoidance of doubt, consent to the Carve Out or the approval of any

budget hereunder shall not be deemed a consent under this paragraph. Nothing contained in this

Final Order shall be deemed to be a consent by the DIP Agent or the DIP Secured Parties to any

charge, lien, assessment or claim against the DIP Collateral under section 506(c) of the

Bankruptcy Code or otherwise.

       12.     DIP Payments Free and Clear. Subject only to the Carve-Out, any and all

payments or proceeds remitted to the DIP Agent, on behalf of the DIP Lenders, pursuant to the

provisions of the Interim Order, this Final Order or the DIP Documents shall be received free

and clear of any claim, charge, assessment or other liability, including, without limitation, any

such claim or charge arising out of or based on, directly or indirectly, section 506(c) of the

Bankruptcy Code or section 552(b) of the Bankruptcy Code, whether asserted or assessed by,

through or on behalf of the Debtors, and solely in the case of payments made or proceeds

remitted after the delivery of a Trigger Notice, subject to the Carve Out in all respects.

       13.     Use of Cash Collateral. The Loan Parties are hereby authorized, subject to the

terms and conditions of this Final Order, to use Cash Collateral; provided that (a) the Prepetition

Secured Parties are granted the Adequate Protection as and to the extent set forth below and (b)

except on the terms and conditions of this Final Order, the Loan Parties shall be enjoined and

prohibited from at any times using the Cash Collateral absent further order of the Court.

       14.     Adequate Protection of Prepetition FLFO Secured Parties. The Prepetition

FLFO Secured Parties are entitled, pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of

the Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral,

including the Cash Collateral, to the extent of diminution in the value of the Prepetition FLFO

Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after



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the Petition Date, if any, for any reason provided for under the Bankruptcy Code, including,

without limitation, any such diminution resulting from the depreciation, sale, lease or use by the

Loan Parties (or other decline in value) of the Prepetition Collateral, the priming of the

Prepetition FLFO Agents’ liens on the Prepetition Collateral by the DIP Agent and the DIP

Lenders pursuant to the DIP Documents and this Final Order, and the imposition of the

automatic stay pursuant to section 362 of the Bankruptcy Code (the “Prepetition FLFO

Secured Parties Adequate Protection Claims”). In consideration of the foregoing, the

Prepetition FLFO Secured Parties are hereby granted the following (collectively, the

“Prepetition FLFO Secured Parties Adequate Protection”):

                   (a) Prepetition FLFO Secured Parties Adequate Protection Liens. The

   Prepetition FLFO Agents (for themselves and for the benefit of the Prepetition FLFO

   Lenders) are hereby granted (effective and perfected upon the date of the Interim Order and

   without the necessity of the execution of any mortgages, security agreements, pledge

   agreements, financing statements or other agreements), in the amount of the Prepetition

   FLFO Secured Parties Adequate Protection Claims, a valid, perfected replacement security

   interest in and lien upon all of the DIP Collateral including, without limitation,

   Unencumbered Property (except D&O Tort Claims and Avoidance Actions) and the

   Avoidance Proceeds and D&O Tort Proceeds, in each case subject and subordinate only to (i)

   the Carve-Out, (ii) the Permitted Prior Liens, (iii) the Unaltered Senior Prepetition Liens and

   Rights, (iv) the DIP Liens, and (v) the Hedging Liens, and ranking pari passu with the

   Prepetition FLTL Secured Parties Adequate Protection Liens (as defined below) (the

   “Prepetition FLFO Secured Parties Adequate Protection Liens”); provided, that the

   Prepetition FLFO Agents shall use commercially reasonable efforts to first apply proceeds



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from DIP Collateral other than Avoidance Proceeds and/or D&O Tort Proceeds to satisfy any

outstanding Prepetition FLFO Secured Parties Adequate Protection Claims.

               (b) Prepetition FLFO Secured Parties 507(b) Claim. The Prepetition FLFO

Agents (for themselves and for the benefit of the Prepetition FLFO Lenders) are hereby

granted, subject to the Carve-Out, an allowed superpriority administrative expense claim as

provided for in section 507(b) of the Bankruptcy Code in the aggregate amount of the

Prepetition FLFO Secured Parties Adequate Protection Claims with, except as set forth in

this Final Order, priority in payment over any and all administrative expenses of the kind

specified or ordered pursuant to any provision of the Bankruptcy Code (the “Prepetition

FLFO Secured Parties 507(b) Claim”); which Prepetition FLFO Secured Parties 507(b)

Claim shall have recourse to and be payable from all of the DIP Collateral, including,

without limitation, Avoidance Proceeds and D&O Tort Proceeds. The Prepetition FLFO

Secured Parties 507(b) Claim shall be subject and subordinate only to the Carve-Out, the

Permitted Prior Liens, the Unaltered Senior Prepetition Liens and Rights, and the DIP

Superpriority Claims, and shall be pari passu with the Prepetition FLTL Secured Parties

507(b) Claim (as defined below). Except to the extent expressly set forth in this Final Order

or the DIP Credit Agreement, the Prepetition FLFO Secured Parties shall not receive or

retain any payments, property or other amounts in respect of the Prepetition FLFO Secured

Parties 507(b) Claim unless and until the DIP Obligations (other than contingent

indemnification obligations as to which no claim has been asserted) have indefeasibly been

paid in cash in full and all DIP Commitments have been terminated.

               (c) Prepetition FLFO Secured Parties Cash Payments. The Prepetition FLFO

Secured Parties shall receive current payment in cash on the last business day of each month,



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or on such other dates as may be provided under the Prepetition FLFO Credit Agreement, in

an amount equal to the non-default interest (or letter of credit fees, as applicable) accrued and

unpaid payable under the Prepetition FLFO Credit Agreement (based, at the option of the

Debtors, on the “LIBOR” rate, as provided in the Prepetition FLFO Credit Agreement);

provided, that the payments made under this paragraph 14(c) shall be without prejudice to the

right of the Debtors and/or the Creditors’ Committee to seek a determination as to whether

such payments constitute postpetition interest allowable under section 506(b) of the

Bankruptcy Code or are in respect of principal.

               (d) Prepetition FLFO Secured Parties Fees and Expenses. Without

duplication of amounts required to be paid pursuant to the DIP Documents, (i) the Loan

Parties shall pay in cash all documented out-of-pocket professional fees, expenses and

disbursements payable to the Prepetition FLFO Secured Parties, including all fees and

expenses of counsel of the Prepetition FLFO Administrative Agent (Vinson & Elkins, LLP)

and Opportune LLP, and all fees and expenses of counsel of the Prepetition FLFO Collateral

Agent (Shipman & Goodwin LLP) (collectively, the “Prepetition FLFO Advisors”), that

accrued prior to the Petition Date and (ii) the Loan Parties shall pay in cash all documented

out-of-pocket professional fees, expenses and disbursements payable to the Prepetition FLFO

Secured Parties (including all fees and expenses of the Prepetition FLFO Advisors) that have

accrued on or after the Petition Date, in each case of the foregoing clauses (i) and (ii), in

accordance with the Prepetition FLFO Credit Agreement; provided, that the payments made

under this paragraph 14(d) shall be without prejudice to the right of the Debtors and/or the

Creditors’ Committee to seek a determination as to whether such payments are allowable

under section 506(b) of the Bankruptcy Code or are in respect of principal.



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               (e) Payment of Fees and Expenses The payment of the fees, expenses and

disbursements set forth in paragraphs 14(d) and 15(c) herein (to the extent incurred after the

Petition Date) shall be made no sooner than ten business (10) days (which time period may

be extended by the applicable professional) after the receipt by the Debtors, the Creditors’

Committee and the U.S. Trustee (the “Review Period”) of summary invoices therefor (the

“Invoiced Fees”) and without the necessity of filing formal fee applications, including such

amounts arising before or after the Petition Date. The invoices for such Invoiced Fees shall

include the number of hours billed (except for financial advisors compensated on other than

an hourly basis) and a summary describing services provided and the expenses incurred by

the applicable professional; provided, however, that any such invoice (i) may be redacted to

protect privileged, confidential or proprietary information and (ii) shall not be required to

contain individual time detail (provided, that such invoice shall contain (except for financial

advisors compensated on other than an hourly basis), at a minimum, summary data regarding

hours worked by each timekeeper for the applicable professional). The Debtors, the

Creditors’ Committee and the U.S. Trustee may object to any portion of the Invoiced Fees

(the “Disputed Invoiced Fees”) within the Review Period by filing with the Court a motion

or other pleading, on at least ten (10) days’ prior written notice to the applicable Prepetition

Agent and the applicable Prepetition Lenders of any hearing on such motion or other

pleading, setting forth the specific objections to the Disputed Invoiced Fees in reasonable

narrative detail and the bases for such objections; provided, that payment of any undisputed

portion of Invoiced Fees shall be paid within the time frame set forth above and shall not be

delayed based on any objections thereto; provided, further, that the applicable parties shall




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endeavor in good faith to consensually resolve any such dispute prior to the filing of any such

motion or pleading.

               (f) Milestones and Covenants. The Prepetition FLFO Secured Parties are

hereby entitled to performance of those certain terms set forth in sections 6.25 (Milestones),

6.01 (Information Covenants), 6.20 (Financial Covenants) and 6.28 (Hedge Agreements) of

the DIP Credit Agreement (the “Additional Adequate Protection Provisions”). While the

DIP Facility remains outstanding, such Additional Adequate Protection Provisions may be

waived, amended, modified or extended from time to time, in each case, as provided under

the DIP Documents. The Additional Adequate Protection Provisions shall survive any

termination of the DIP Credit Agreement or the DIP Commitments thereunder, and

thereafter, may be waived, amended, modified or extended from time to time only by (i)

order of the Court or (ii) the prior written consent of Prepetition FLFO Secured Parties and

Prepetition FLTL Secured Parties holding greater than 50% of the aggregate outstanding

principal amount of loans under both the Prepetition FLFO Credit Agreement and Prepetition

FLTL Credit Agreement (the “Required First Lien Secured Parties”).

               (g) Budget. The Debtors shall promptly provide the Prepetition FLFO

Administrative Agent, on behalf of itself and the Prepetition FLFO Lenders (and shall

concurrently provide to counsel to the Creditors’ Committee on a professional eyes only

basis, provided that counsel to the Creditors’ Committee reserves the right to challenge any

“professional eyes only” designation in accordance with the terms of the applicable

confidentiality agreement), with all required written financial reporting and other periodic

reporting that is delivered by the DIP Borrower under the DIP Credit Agreement, including

with respect to the Approved Budget requirements set forth in the DIP Credit Agreement (the

“Budget Reporting”). The Budget Reporting requirement shall survive any termination of

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   the DIP Credit Agreement or the DIP Commitments thereunder, and thereafter, (i) each

   Approved Budget shall be delivered to counsel for the Prepetition FLFO Secured Parties (and

   shall concurrently provide to counsel to the Creditors’ Committee on a professional eyes only

   basis, provided that counsel to the Creditors’ Committee reserves the right to challenge any

   “professional eyes only” designation in accordance with the terms of the applicable

   confidentiality agreement), and shall be acceptable to the Required First Lien Secured

   Parties, it being understood that if the Required First Lien Secured Parties have not objected

   to an updated Budget within five Business Days after delivery thereof, the Required First

   Lien Secured Parties shall be deemed to have approved such updated Budget, (ii) no such

   Budget shall be effective until so approved (or deemed approved), and upon approval (or

   deemed approval) of such Budget by the Required First Lien Secured Parties, shall constitute

   the Approved Budget for purposes of these Adequate Protection Reporting Obligations and

   (iii) this Budget Reporting requirement may be waived, amended, modified or extended from

   time to time with respect to the FLFO Secured Parties solely by the Required First Lien

   Secured Parties (in their sole discretion) (or the Creditors’ Committee, as applicable).

                   (h) Payments Attributable to Legacy Assets. In connection with any amounts

   paid after the Petition Date by the Debtors and attributable to Legacy Apache Properties or

   the Non-APA Remaining Assets (each, as defined in the Restructuring Support Agreement),

   the DIP Agent may use commercially reasonable efforts to first apply proceeds from the DIP

   Collateral that is not Prepetition Collateral to satisfy such amounts before applying proceeds

   of DIP Collateral that is Prepetition Collateral to satisfy such amounts.

       15.     Adequate Protection of Prepetition FLTL Secured Parties. The Prepetition FLTL

Secured Parties are entitled, pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the



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Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral, including

the Cash Collateral, to the extent of diminution in the value of the Prepetition FLTL Secured

Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after the

Petition Date, if any, for any reason provided for under the Bankruptcy Code, including, without

limitation, any such diminution resulting from the depreciation, sale, lease or use by the Loan

Parties (or other decline in value) of the Prepetition Collateral, the priming of the Prepetition

FLTL Agent’s liens on the Prepetition Collateral by the DIP Agent and the DIP Lenders pursuant

to the DIP Documents and this Final Order, and the imposition of the automatic stay pursuant to

section 362 of the Bankruptcy Code (the “Prepetition FLTL Secured Parties Adequate

Protection Claims”). In consideration of the foregoing, the Prepetition FLTL Secured Parties

are hereby granted the following (collectively, the “Prepetition FLTL Secured Parties

Adequate Protection”):

                   (a) Prepetition FLTL Secured Parties Adequate Protection Liens. The

   Prepetition FLTL Agent (for itself and for the benefit of the Prepetition FLTL Lenders) is

   hereby granted (effective and perfected upon the date of the Interim Order and without the

   necessity of the execution of any mortgages, security agreements, pledge agreements,

   financing statements or other agreements), in the amount of the Prepetition FLTL Secured

   Parties Adequate Protection Claim, a valid, perfected replacement security interest in and lien

   upon all of the DIP Collateral including, without limitation, Unencumbered Property (except

   the D&O Tort Claims and Avoidance Actions) and the Avoidance Proceeds and D&O Tort

   Proceeds, in each case subject and subordinate only to in each case subject and subordinate

   only to (i) the Carve-Out, (ii) the Permitted Prior Liens, (iii) the Unaltered Senior Prepetition

   Liens and Rights, (iv) the DIP Liens, and (v) the Hedging Liens, and ranking pari passu with



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the Prepetition FLFO Secured Parties Adequate Protection Liens (the “Prepetition FLTL

Secured Parties Adequate Protection Liens”, and together with the Prepetition FLFO

Secured Parties Adequate Protection Liens, the “Adequate Protection Liens”); provided,

that the Prepetition FLFO Agents shall use commercially reasonable efforts to first apply

proceeds from DIP Collateral other than Avoidance Proceeds and/or D&O Tort Proceeds to

satisfy any outstanding Prepetition FLTL Secured Parties Adequate Protection Claims.

               (b) Prepetition FLTL Secured Parties 507(b) Claim. The Prepetition FLTL

Agent (for itself and for the benefit of the Prepetition FLTL Lenders) is hereby granted,

subject to the Carve-Out, an allowed superpriority administrative expense claim as provided

for in section 507(b) of the Bankruptcy Code in the amount of the Prepetition FLTL Secured

Parties Adequate Protection Claim with, except as set forth in this Final Order, priority in

payment over any and all administrative expenses of the kind specified or ordered pursuant to

any provision of the Bankruptcy Code (the “Prepetition FLTL Secured Parties 507(b)

Claim”, and together with the Prepetition FLFO Secured Parties 507(b) Claim, the “507(b)

Claims”)); which Prepetition FLTL Secured Parties 507(b) Claim shall have recourse to and

be payable from all of the DIP Collateral, including, without limitation, Avoidance Proceeds

and D&O Tort Proceeds. The Prepetition FLTL Secured Parties 507(b) Claim shall be

subject and subordinate only to the Carve-Out, the Permitted Prior Liens, the Unaltered

Senior Prepetition Liens and Rights, and the DIP Superpriority Claims, and shall be pari

passu with the Prepetition FLFO Secured Parties 507(b) Claim. Except to the extent

expressly set forth in this Final Order or the DIP Credit Agreement, the Prepetition FLTL

Secured Parties shall not receive or retain any payments, property or other amounts in respect

of the Prepetition FLTL Secured Parties 507(b) Claim unless and until the DIP Obligations



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(other than contingent indemnification obligations as to which no claim has been asserted)

have indefeasibly been paid in cash in full and all DIP Commitments have been terminated.

               (c) Prepetition FLTL Secured Parties Fees and Expenses. Without

duplication of amounts required to be paid pursuant to the DIP Documents, (i) the Loan

Parties shall pay in cash all documented out-of-pocket professional fees, expenses and

disbursements payable to the Prepetition FLTL Secured Parties, including all fees and

expenses of counsel and other professionals of the Prepetition FLTL Agent (including

Shipman & Goodwin LLP) and the ad hoc group of Prepetition FLTL Lenders (including

Davis Polk & Wardwell LLP, Haynes and Boone LLP, Gordon, Arata, Montgomery, Barnett,

McCollam, Duplantis & Eagan, LLC, Rothschild & Co US Inc. and Intrepid Partners, LLC

(collectively with Shipman & Goodwin, LLP and any other advisor retained by the

Prepetition FLTL Secured Parties, the “Prepetition FLTL Secured Parties Advisors”)) that

accrued prior to the Petition Date and (ii) the Loan Parties shall pay in cash all documented

out-of-pocket professional fees, expenses and disbursements payable to the Prepetition FLTL

Secured Parties (including all fees and expenses of the Prepetition FLTL Secured Parties

Advisors) that have accrued on or after the Petition Date, in each case of the foregoing

clauses (i) and (ii), in accordance with the Prepetition FLTL Credit Agreement; provided,

that the payments made under this paragraph 15(c) shall be without prejudice to the right of

the Debtors and/or the Creditors’ Committee to seek a determination as to whether such

payments are allowable under section 506(b) of the Bankruptcy Code or are in respect of

principal.

               (d) Milestones and Covenants. The Prepetition FLTL Secured Parties are

hereby entitled to performance of the Additional Adequate Protection Provisions. While the



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   DIP Facility remains outstanding, such Additional Adequate Protection Provisions may be

   waived, amended, modified or extended from time to time, in each case, as provided under

   the DIP Documents. The Additional Adequate Protection Provisions shall survive any

   termination of the DIP Credit Agreement or the DIP Commitments thereunder, and

   thereafter, may be waived, amended, modified or extended from time to time only by (i)

   order of the Court or (ii) the prior written consent of the Required First Lien Secured Parties.

                (e)    Budget. The Debtors shall promptly provide the Prepetition FLTL

Administrative Agent, on behalf of itself and the Prepetition FLTL Lenders, with all required

written financial reporting and other periodic reporting that is delivered by the DIP Borrower

under the DIP Credit Agreement, including the Budget Reporting. This Budget Reporting

requirement shall survive any termination of the DIP Credit Agreement or the DIP

Commitments thereunder, and thereafter, (i) each Approved Budget shall be delivered to

counsel for the Prepetition FLTL Secured Parties, and shall be reasonably acceptable to the

Required First Lien Secured Parties, it being understood that if the Required First Lien Secured

Parties have not objected to an updated Budget within five Business Days after delivery thereof,

the Required First Lien Secured Parties shall be deemed to have approved such updated Budget,

(ii) no such Budget shall be effective until so approved (or deemed approved), and upon

approval (or deemed approval) of such Budget by the Required First Lien Secured Parties, shall

constitute the Approved Budget for purposes of this Budget Reporting requirement and (iii) this

Budget Reporting requirement may be waived, amended, modified or extended from time to

time with respect to the FLTL Secured Parties solely by the Required First Lien Secured Parties

(in their sole discretion).




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                   (f) In connection with any amounts paid after the Petition Date by the Debtors

   and attributable to Legacy Apache Properties or the Non-APA Remaining Assets, the DIP

   Agent may use commercially reasonable efforts to first apply proceeds from the DIP

   Collateral that is not Prepetition Collateral to satisfy such amounts before applying proceeds

   of DIP Collateral that is Prepetition Collateral to satisfy such amounts.

       16.     Limitation on Charging Expenses Against Prepetition Collateral. In partial

consideration for, among other things, the Carve Out and the payments made under the

Approved Budget to administer the Cases with the use of Cash Collateral, except to the extent of

the Carve-Out, no costs or expenses of administration of the Cases or any future proceeding that

may result therefrom, including liquidation in bankruptcy or other proceedings under the

Bankruptcy Code, shall be charged against or recovered from the Prepetition Collateral

(including Cash Collateral) pursuant to section 506(c) of the Bankruptcy Code or any similar

principle of law, without the prior written consent of the Prepetition Agents or the Prepetition

Lenders, as the case may be, and in each case acting at the written direction of the requisite

percentage of Prepetition FLFO Lenders, Prepetition FLTL Lenders or Prepetition SLTL

Lenders, as applicable, and no such consent shall be implied from any other action, inaction, or

acquiescence by the Prepetition Agents or the Prepetition Lenders. For the avoidance of doubt,

consent to the Carve Out or the approval of any budget hereunder shall not be deemed a consent

under this paragraph. Nothing contained in this Final Order shall be deemed to be a consent by

the Prepetition Secured Parties to any charge, lien, assessment or claim against the DIP

Collateral under section 506(c) of the Bankruptcy Code or otherwise.

       17.     Adequate Protection Payments Free and Clear. Any and all payments or

proceeds remitted to the Prepetition FLFO Administrative Agent on behalf of Prepetition FLFO



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Secured Parties or to the Prepetition FLTL Agent on behalf of any Prepetition FLTL Secured

Parties, pursuant to the provisions of the Interim Order and this Final Order, any subsequent

order of the Court or the Prepetition Debt Documents, shall be irrevocable, received free and

clear of any claim, charge, assessment or other liability, including, without limitation, any such

claim or charge arising out of or based on, directly or indirectly, section 506(c) of the

Bankruptcy Code or section 552(b) of the Bankruptcy Code, whether asserted or assessed by,

through or on behalf of the Debtors, and solely in the case of payments made or proceeds

remitted after the delivery of a Trigger Notice, subject to the Carve Out in all respects.

       18.     Limitations on “Equities of the Case” Exception. The Prepetition Secured Parties

are and shall each be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy

Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall

not apply to the Prepetition Secured Parties or the Prepetition Obligations.

       19.     Waiver of Marshaling for Prepetition Secured Parties. In no event shall the

Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or any similar

doctrine with respect to any of the Prepetition Collateral.

       20.     Reservation of Rights of Prepetition Secured Parties. Under the circumstances

and given that the Adequate Protection is consistent with the Bankruptcy Code, including section

506(b) thereof, the Court finds that the Adequate Protection is reasonable and sufficient to

protect the interests of the Prepetition Secured Parties and any other parties’ holding interests

that are secured by Primed Liens; provided that any of the Prepetition Secured Parties, upon a

change in circumstances, may request further or different adequate protection, and the Debtors or

any other party may, subject to and consistent with the terms of the Intercreditor Agreements,

contest any such request.



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   21.     Perfection of DIP Liens and Adequate Protection Liens.

               (a) The DIP Agent, the DIP Lenders and the Prepetition Secured Parties are

hereby authorized, but not required, to file or record (and to execute in the name of the Loan

Parties, as their true and lawful attorneys, with full power of substitution, to the maximum

extent permitted by law) financing statements, trademark filings, copyright filings,

mortgages, notices of lien or similar instruments in any jurisdiction, or take possession of or

control over cash or securities, or take any other action in order to validate and perfect the

liens and security interests granted to them hereunder. Whether or not the DIP Agent, on

behalf of, or at the direction of, the DIP Lenders or the Prepetition Secured Parties shall, in

their sole discretion, choose to file such financing statements, trademark filings, copyright

filings, mortgages, notices of lien or similar instruments, or take possession of or control over

any cash or securities, or otherwise confirm perfection of the liens and security interests

granted to them hereunder, such liens and security interests shall be deemed valid, perfected,

allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination, at

the time and on the Closing Date. Upon the request of the DIP Agent, each of the Prepetition

Secured Parties and the Loan Parties, without any further consent of any party, is authorized

to take, execute, deliver and file such instruments (in each case, without representation or

warranty of any kind) to enable the DIP Agent to further validate, perfect, preserve and

enforce the DIP Liens, and such parties shall provide reasonable cooperation to the DIP

Agent with respect to such matters. All such documents will be deemed to have been

recorded and filed as of the Petition Date.

               (b) A certified copy of this Final Order may, in the discretion of the DIP

Agent, at the direction of the Required Lenders under the DIP Documents, or the Prepetition



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Secured Parties, be filed with or recorded in filing or recording offices in addition to or in

lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

filing offices are hereby authorized and directed to accept such certified copy of this Final

Order for filing and/or recording, as applicable. The automatic stay of section 362(a) of the

Bankruptcy Code shall be modified to the extent necessary to permit the DIP Agent and the

Prepetition Secured Parties to take all actions, as applicable, referenced in this subparagraph

(b) and the immediately preceding subparagraph (a).

    22.    Preservation of Rights Granted Under This Final Order.

               (a) Other than the Carve-Out and other claims and liens expressly granted by

this Final Order, no claim or lien having a priority superior to or pari passu with those

granted by this Final Order to the DIP Agent and the DIP Lenders or the Prepetition Secured

Parties shall be permitted while any of the DIP Obligations or the Adequate Protection

remain outstanding, and, except as otherwise expressly provided in paragraph 9 of this Final

Order, the DIP Liens and the Adequate Protection Liens shall not be: (i) subject or junior to

any lien or security interest that is avoided and preserved for the benefit of the Loan Parties’

estates under section 551 of the Bankruptcy Code; (ii) subordinated to or made pari passu

with any other lien or security interest, whether under section 364(d) of the Bankruptcy Code

or otherwise; (iii) subordinated to or made pari passu with any liens arising after the Petition

Date including, without limitation, any liens or security interests granted in favor of any

federal, state, municipal or other domestic or foreign governmental unit (including any

regulatory body), commission, board or court for any liability of the Loan Parties; or (iv)

subject or junior to any intercompany or affiliate liens or security interests of the Loan

Parties.



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               (b)    The Debtors shall not file any motion or other pleading, execute any other

writing, or make any oral argument in support of (or support any other party in the filing of a

motion or other pleading or making of any oral argument or statement in support of), and it shall

constitute an Event of Default and terminate the right of the Loan Parties to use Cash Collateral,

subject to the Remedies Notice Period, if any of the Loan Parties, without the prior written consent

of the Required Lenders, file any motion or other pleading, execute any other writing, or make

any oral argument or statement in support of (or support any other party in the filing of a motion

or other pleading or making of any oral argument in support of), if there is entered or confirmed,

or if there occurs (in each case, as applicable):

                        (i)   a failure of the Debtors to make any payment under the Interim
                              Order or this Final Order to any of the DIP Secured Parties when
                              due;

                       (ii)   a failure of the Debtors to (x) observe or perform any of the
                              material terms or provisions contained in this Final Order or
                              (y) comply with any covenant or agreement in this Final Order in
                              any material respect, in each case, which failure is not cured within
                              three (3) days after receipt of written notice thereof;

                      (iii)   any modifications, amendments, or reversal of this Final Order,
                              and no such consent shall be implied by any other action, inaction
                              or acquiescence by any party;

                      (iv)    an order converting or dismissing any of the Cases;

                       (v)    an order appointing a chapter 11 trustee in the Cases;

                      (vi)    an order appointing an examiner with enlarged powers in the Cases
                              (beyond those set forth in sections 1106(a)(3) and (4) of the
                              Bankruptcy Code);

                      (vii)   a plan of reorganization that does not provide for the payment in
                              full in cash of the DIP Facility being proposed by the Debtors, or,
                              solely as to the right to terminate use of Cash Collateral, any other
                              plan of reorganization that constitutes an Alternative Restructuring
                              (as defined in the Restructuring Support Agreement) being
                              proposed by the Debtors or confirmation thereof;



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                     (viii)   the sale of all or substantially all of the assets of the Loan Parties
                              or all Specified Assets (as defined in the Restructuring Support
                              Agreement) (in each case, except to the extent permitted under the
                              DIP Documents), which does not provide for the repayment in full
                              in cash of all DIP Obligations (other than any contingent
                              indemnification or expense reimbursement obligations for which
                              no claim has been made); or

                      (ix)    any “Event of Default” as defined in the DIP Credit Agreement.

               (c)    The Debtors shall not file any motion or other pleading, execute any other

writing, or make any oral argument or statement in support of (or support any other party in the

filing of a motion or other pleading or making of any oral argument in support of), and it shall

constitute an Event of Default and terminate the right of the Loan Parties to use Cash Collateral,

subject to the Remedies Notice Period, if any of the Loan Parties, without the prior written consent

of the Prepetition FLTL Agent, file any motion or other pleading, execute any other writing, or

make any oral argument or statement in support of (or support any other party in the filing of a

motion or other pleading or making of any oral argument in support of, if there is entered or

confirmed, or if there occurs (in each case, as applicable):

                        (i)   a failure of the Debtors to make any payment under the Interim
                              Order or this Final Order to any of the Prepetition FLFO Secured
                              Parties or the Prepetition FLTL Secured Parties when due;

                       (ii)   a failure of the Debtors to (x) observe or perform any of the
                              material terms or provisions contained in this Final Order or
                              (y) comply with any covenant or agreement in this Final Order in
                              any material respect, and such failure is materially adverse to the
                              Prepetition FLFO Secured Parties or the Prepetition FLTL Secured
                              Parties. in each case, which failure is not cured within three (3)
                              Business Days after receipt of written notice thereof;

                      (iii)   any modifications, amendments, or reversal of this Final Order,
                              and no such consent shall be implied by any other action, inaction
                              or acquiescence by any party, and such modification, amendment,
                              or extension is materially adverse to the Prepetition FLFO Secured
                              Parties or the Prepetition FLTL Secured Parties;

                      (iv)    an order converting or dismissing any of the Cases;


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                       (v)    an order appointing a chapter 11 trustee in the Cases; or

                       (vi)   an order appointing an examiner with enlarged powers in the Cases
                              (beyond those set forth in sections 1106(a)(3) and (4) of the
                              Bankruptcy Code), and such order is materially adverse to the
                              Prepetition FLFO Secured Parties or the Prepetition FLTL Secured
                              Parties.

Notwithstanding any order that may be entered dismissing any of the Cases under section 1112

of the Bankruptcy Code or otherwise is at any time entered: (i) the DIP Superpriority Claims,

the 507(b) Claims, the DIP Liens and the Adequate Protection Liens shall continue in full force

and effect and shall maintain their priorities as provided in this Final Order until all DIP

Obligations and Adequate Protection shall have been indefeasibly paid in full in cash (and that

such DIP Superpriority Claims, 507(b) Claims, DIP Liens and Adequate Protection Liens shall,

notwithstanding such dismissal, remain binding on all parties in interest); (ii) the other rights

granted by this Final Order shall not be affected; and (iii) this Court shall retain jurisdiction,

notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security

interests referred to in this paragraph and otherwise in this Final Order.

                (d)   If any or all of the provisions of this Final Order are hereafter reversed,

modified, vacated or stayed, such reversal, modification, vacation or stay shall not affect: (i) the

validity, priority or enforceability of any DIP Obligations or Adequate Protection incurred prior

to the actual receipt of written notice by the DIP Agent or the Prepetition Agents, as applicable,

of the effective date of such reversal, modification, vacation or stay; or (ii) the validity, priority

or enforceability of the DIP Liens or the Adequate Protection Liens. Notwithstanding any such

reversal, modification, vacation or stay of any use of Cash Collateral, any DIP Obligations, DIP

Liens, Adequate Protection or Adequate Protection Liens incurred by the Loan Parties to the DIP

Agent, the DIP Lenders or the Prepetition Secured Parties, as the case may be, prior to the actual

receipt of written notice by the DIP Agent or the Prepetition Agents, as applicable, of the effective

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date of such reversal, modification, vacation or stay shall be governed in all respects by the

original provisions of this Final Order, and the DIP Agent, the DIP Lenders and the Prepetition

Secured Parties shall be entitled to all the rights, remedies, privileges and benefits granted in

section 364(e) of the Bankruptcy Code, this Final Order and the DIP Documents with respect to

all uses of Cash Collateral, DIP Obligations and Adequate Protection.

               (e)    Except as expressly provided in this Final Order or in the DIP Documents,

the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens and the Adequate

Protection and all other rights and remedies of the DIP Agent, the DIP Lenders and the Prepetition

Secured Parties granted by the provisions of this Final Order and the DIP Documents shall

survive, and shall not be modified, impaired or discharged by: (i) the entry of an order converting

any of the Cases to a case under chapter 7, dismissing any of the Cases, terminating the joint

administration of these Cases or by any other act or omission; (ii) the entry of an order approving

the sale of any DIP Collateral pursuant to section 363(b) of the Bankruptcy Code (except to the

extent permitted by the DIP Documents); or (iii) the entry of an order confirming a chapter 11

plan in any of the Cases and, pursuant to section 1141(d)(4) of the Bankruptcy Code, the Loan

Parties have waived any discharge as to any remaining DIP Obligations or Adequate Protection.

The terms and provisions of this Final Order and the DIP Documents shall continue in these

Cases, in any successor cases if these Cases cease to be jointly administered and in any

superseding chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the DIP Superpriority

Claims, the Adequate Protection Liens and the Adequate Protection and all other rights and

remedies of the DIP Agent, the DIP Lenders and the Prepetition Secured Parties granted by the

provisions of this Final Order and the DIP Documents shall continue in full force and effect until




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 the DIP Obligations are indefeasibly paid in full in cash, as set forth herein and in the DIP

 Documents, and the DIP Commitments have been terminated.

        23.     Effect of Stipulations on Third Parties. The Debtors’ stipulations, admissions,

agreements and releases contained in this Final Order, including, without limitation, in paragraph

5 of this Final Order, shall be binding upon the Debtors and any successor thereto (including,

without limitation, any chapter 7 or chapter 11 trustee or examiner appointed or elected for any

of the Debtors) in all circumstances and for all purposes. The Debtors’ stipulations, admissions,

agreements and releases contained in this Final Order, including, without limitation, in paragraph

5 of this Final Order, shall be binding upon all other parties in interest, including, without

limitation, any statutory or non-statutory committees appointed or formed in the Cases (including

the Creditors’ Committee) and any other person or entity acting or seeking to act on behalf of the

Debtors’ estates, including any chapter 7 or chapter 11 trustee or examiner appointed or elected

for any of the Debtors, in all circumstances and for all purposes unless (a) such committee

(including the Creditors’ Committee) or any other party in interest, in each case with requisite

standing granted by the Court (subject in all respects to any agreement or applicable law that

may limit or affect such entity’s right or ability to do so), has timely filed an adversary

proceeding or contested matter (subject to the limitations contained herein, including, without

limitation, in this paragraph 23) by no later than (i) 75 days after enter of this Final Order, (ii)

any such later date as has been agreed to, in writing, by the Prepetition Agents (with the consent

of the DIP Lenders) as applicable, and (iii) any such later date as has been ordered by the Court

for cause upon a motion filed and served within any applicable period of time set forth in this

paragraph; provided, that the filing of a motion for standing by the Creditors’ Committee for any

proposed Challenge shall automatically extend the Challenge Period with respect to such



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Challenge described in such motion, until five (5) Business Days after such motion for standing

is determined by this Court (the time period established by the foregoing clauses (i)-(iii), the

“Challenge Period”), (A) objecting to or challenging the amount, validity, perfection,

enforceability, priority or extent of the Prepetition Debt or the Prepetition Liens, or (B) otherwise

asserting or prosecuting any action for preferences, fraudulent transfers or conveyances, other

avoidance power claims or any other claims, counterclaims or causes of action, objections,

contests or defenses (collectively, the “Challenges”) against the Prepetition Secured Parties or

their respective subsidiaries and each of their former, current or future officers, partners,

directors, managers, principals, employees, agents, financial advisors, attorneys, accountants,

investment bankers, consultants, representatives and other professionals and the respective

successors and assigns thereof, in each case in their respective capacity as such (each a

“Representative” and, collectively, the “Representatives”) in connection with matters related to

the Prepetition Credit Agreements, the Prepetition Debt, the Prepetition Liens in the Prepetition

Collateral; and (b) there is a final non-appealable order in favor of the plaintiff sustaining any

such Challenge in any such timely filed adversary proceeding or contested matter; provided,

however, that any pleadings filed in connection with any Challenge shall set forth with

specificity the basis for such Challenge or claim and any Challenges or claims not so specified

prior to the expiration of the Challenge Period shall be deemed forever, waived, released and

barred. If no such Challenge is timely and properly filed during the Challenge Period or the

Court does not rule in favor of the plaintiff in any such proceeding then: (a) the Debtors’

stipulations, admissions, agreements and releases contained in this Final Order, including,

without limitation, those contained in paragraph 5 of this Final Order, shall be binding on all

parties in interest; (b) the obligations of the Loan Parties under the Prepetition Credit



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Agreements, including the Prepetition Debt, shall constitute allowed claims not subject to

defense, claim, counterclaim, recharacterization, subordination, offset or avoidance, for all

purposes in the Cases, and any subsequent chapter 7 case(s); (c) the Prepetition Liens on the

Prepetition Collateral shall be deemed to have been, as of the Petition Date, legal, valid, binding,

perfected, security interests and liens, not subject to recharacterization, subordination, avoidance

or other defense; and (d) the Prepetition Debt and the Prepetition Liens on the Prepetition

Collateral shall not be subject to any other or further claim or challenge by any statutory or non-

statutory committee appointed or formed in the Cases or any other party in interest acting or

seeking to act on behalf of the Debtors’ estates, including, without limitation, any successor

thereto (including, without limitation, any chapter 7 trustee or chapter 11 trustee or examiner

appointed or elected for any of the Debtors) and any defenses, claims, causes of action,

counterclaims and offsets by any statutory or non-statutory committee appointed or formed in the

Cases (including the Creditors’ Committee), or any other party acting or seeking to act on behalf

of the Debtors’ estates, including, without limitation, any successor thereto (including, without

limitation, any chapter 7 trustee or chapter 11 trustee or examiner appointed or elected for any of

the Debtors), whether arising under the Bankruptcy Code or otherwise, against any of the

Prepetition Secured Parties and their Representatives arising out of or relating to any of the

Prepetition Credit Agreements shall be deemed forever waived, released and barred. If any such

Challenge is timely filed during the Challenge Period, the stipulations, admissions, agreements

and releases contained in this Final Order, including, without limitation, those contained in

paragraph 5 of this Final Order, shall nonetheless remain binding and preclusive (as provided in

the second sentence of this paragraph) on any statutory or non-statutory committee appointed or

formed in the Cases, and on any other person or entity, except to the extent that such stipulations,



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admissions, agreements and releases were expressly and successfully challenged in such

Challenge as set forth in a final, non-appealable order of a court of competent jurisdiction.

Nothing in this Final Order vests or confers on any Person (as defined in the Bankruptcy Code),

including any statutory or non-statutory committee appointed or formed in these Cases

(including the Creditors’ Committee), standing or authority to pursue any claim or cause of

action belonging to the Debtors or their estates, including, without limitation, Challenges with

respect to the Prepetition Credit Agreements, the Prepetition Debt or the Prepetition Liens.

       24.     Limitation on Use of DIP Financing Proceeds and Collateral. Notwithstanding

any other provision of this Final Order or any other order entered by the Court, no DIP Loans,

DIP Collateral, Prepetition Collateral or any portion of the Carve-Out, may be used directly or

indirectly by any Debtor, any Guarantor, any official committee appointed in the Cases, or any

trustee appointed in the Cases or any successor case, including any chapter 7 case, or any other

person, party or entity (i) in connection with the investigation, initiation or prosecution of any

claims, causes of action, adversary proceedings or other litigation (a) against any of the DIP

Agent, the DIP Lenders, or the Prepetition Secured Parties, or their respective predecessors-in-

interest, agents, affiliates, representatives, attorneys, or advisors, or any action purporting to do

the foregoing in respect of the Prepetition Debt, liens on the Prepetition Collateral, DIP

Obligations, DIP Liens, DIP Superpriority Claims and/or the Adequate Protection, Adequate

Protection Liens and superpriority claims granted to the Prepetition Secured Parties under the

Interim Order or this Final Order or (b) challenging the amount, validity, perfection, priority or

enforceability of or asserting any defense, counterclaim or offset with respect to, the Prepetition

Debt, the DIP Obligations and/or the liens, claims, rights, or security interests granted under the

Interim Order, this Final Order, the DIP Documents or the Prepetition Credit Agreements



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including, in each case, without limitation, for lender liability or pursuant to section 105, 510,

544, 547, 548, 549, 550, 552 of the Bankruptcy Code, applicable non-bankruptcy law or

otherwise; provided that notwithstanding anything to the contrary set forth herein, no more than

an aggregate of $250,000 of the Collateral or any proceeds of the DIP Facility, the DIP Collateral

or the Prepetition Collateral may be used to pay any allowed fees of the Creditors’ Committee, if

any, or their respective professionals to the extent incurred in connection with investigating the

validity, enforceability, priority, obligations, claims and liens of the Prepetition Secured Parties

and their respective agents, attorneys, advisors or representatives, or investigating any

Challenges against any of the foregoing; (ii) to prevent, hinder, or otherwise delay the Prepetition

Secured Parties’, the DIP Agent’s or the DIP Lenders’, as applicable, enforcement or realization

on the Prepetition Debt, Prepetition Collateral, DIP Obligations, DIP Collateral, and the liens,

claims and rights granted to such parties under the Orders, each in accordance with the DIP

Documents, the Prepetition Credit Agreements or this Final Order; (iii) to seek to modify any of

the rights and remedies granted to the Prepetition Secured Parties, the DIP Agent or the DIP

Lenders under this Final Order, the Prepetition Credit Agreements or the DIP Documents, as

applicable; (iv) to apply to the Court for authority to approve superpriority claims or grant liens

(other than the liens permitted pursuant to the Definitive Documentation) or security interests in

the DIP Collateral or any portion thereof that are senior to, or on parity with, the DIP Liens, DIP

Superpriority Claims, adequate protection liens and superpriority claims and liens granted to the

Prepetition Secured Parties, unless all DIP Obligations, Prepetition Debt, adequate protection,

and claims granted to the DIP Agent, DIP Lenders or Prepetition Secured Parties under this Final

Order, have been refinanced or paid in full in cash (including the cash collateralization of any

letters of credit) or otherwise agreed to in writing by the DIP Lenders; or (vi) to seek to pay any



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amount on account of any claims arising prior to the Petition Date unless such payments are

agreed to in writing by the DIP Lenders in or are otherwise included in the “Approved Budget”

(as initially attached to the Motion, and as updated in accordance with the terms of the DIP

Documents). For the avoidance of doubt, nothing herein shall modify or limit the Loan Parties’

use of the Carve-Out in connection with such rights.

       25.     Loss or Damage to Collateral. Nothing in this Final Order, the DIP Documents,

or any other documents related to these transactions shall in any way be construed or interpreted

to impose or allow the imposition upon the DIP Agent, any DIP Lender or any of the Prepetition

Secured Parties of any liability for any claims arising from the prepetition or postpetition

activities of the Debtors in the operation of their business, or in connection with their

restructuring efforts. So long as the DIP Agent and the DIP Lenders comply with their

obligations under the DIP Documents and their obligations, if any, under applicable law

(including the Bankruptcy Code), (a) the DIP Agent and the DIP Lenders shall not, in any way or

manner, be liable or responsible for (i) the safekeeping of the DIP Collateral, (ii) any loss or

damage thereto occurring or arising in any manner or fashion from any cause, (iii) any

diminution in the value thereof or (iv) any act or default of any carrier, servicer, bailee,

custodian, forwarding agency or other person and (b) all risk of loss, damage or destruction of

the DIP Collateral shall be borne by the Loan Parties.

       26.     Final Order Governs. In the event of any inconsistency between the provisions of

this Final Order and the DIP Documents or any other order entered by this Court, the provisions

of this Final Order shall govern. Notwithstanding anything to the contrary in any other order

entered by this Court, any payment made pursuant to any authorization contained in any other




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order entered by this Court shall be consistent with and subject to the requirements set forth in

this Final Order and the DIP Documents, including, without limitation, the Approved Budget.

       27.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

of this Final Order, including all findings herein, shall be binding upon all parties in interest in

these Cases, including, without limitation, the DIP Agent, the DIP Lenders, the Prepetition

Secured Parties, any statutory or non-statutory committees appointed or formed in these Cases,

the Debtors and their respective successors and assigns (including any chapter 7 or chapter 11

trustee hereinafter appointed or elected for the estate of any of the Debtors, an examiner

appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a

legal representative of any of the Debtors or with respect to the property of the estate of any of

the Debtors) and shall inure to the benefit of the DIP Agent, the DIP Lenders, the Prepetition

Secured Parties and the Debtors and their respective successors and assigns; provided that the

DIP Agent, the DIP Lenders and the Prepetition Secured Parties shall have no obligation to

permit the use of the Prepetition Collateral (including Cash Collateral) by, or to extend any

financing to, any chapter 7 trustee, chapter 11 trustee or similar responsible person appointed for

the estates of the Debtors.

               Limitation of Liability. In determining to make any loan or other extension of

credit under the DIP Credit Agreement, to permit the use of Cash Collateral or in exercising any

rights or remedies as and when permitted pursuant to this Final Order or the DIP Documents, the

DIP Agent and the DIP Lenders shall not (i) be deemed to be in “control” of the operations of the

Debtors; (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders or

estates; and (iii) be deemed to be acting as a “Responsible Person” or “Owner” or “Operator”

with respect to the operation or management of the Debtors (as such terms or similar terms are



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used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar federal or state statute). The

Prepetition Secured Parties shall not (i) be deemed to be in “control” of the operations of the

Debtors; (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders or

estates; and (iii) be deemed to be acting as a “Responsible Person” or “Owner” or “Operator”

with respect to the operation or management of the Debtors (as such terms or similar terms are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar federal or state statute).

       28.     Master Proof of Claim. The Prepetition Agents shall not be required to file proofs

of claim in the Cases or any successor case in order to assert claims on behalf of itself and the

Prepetition Secured Parties for payment of the Prepetition Debt arising under the Prepetition

Credit Agreements. The statements of claim in respect of the Prepetition Debt set forth in this

Final Order, together with any evidence accompanying the Motion and presented at the Final

Hearing, are deemed sufficient to and do constitute proofs of claim in respect of such debt and

such secured status. However, in order to facilitate the processing of claims, to ease the burden

upon the Court and to reduce an unnecessary expense to the Debtors’ estates, each Prepetition

Agent is authorized, but not required, to file in the Debtors’ lead chapter 11 case Fieldwood

Energy Inc., Case No. 20-33948, a single, master proof of claim on behalf of the relevant

Prepetition Secured Parties on account of any and all of their respective claims arising under the

applicable Prepetition Credit Agreements and hereunder (each, a “Master Proof of Claim”)

against each of the Debtors. Upon the filing of a Master Proof of Claim against each of the

Debtors, the Prepetition Agents and the Prepetition Secured Parties, and each of their respective

successors and assigns, shall be deemed to have filed a proof of claim in the amount set forth



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opposite its name therein in respect of its claims against each of the Debtors of any type or nature

whatsoever with respect to the applicable Prepetition Credit Agreements, and the claim of each

Prepetition Secured Party (and each of its respective successors and assigns), named in a Master

Proof of Claim shall be treated as if such entity had filed a separate proof of claim in each of

these Cases. The Master Proofs of Claim shall not be required to identify whether any

Prepetition Secured Party acquired its claim from another party and the identity of any such party

or to be amended to reflect a change in the holders of the claims set forth therein or a reallocation

among such holders of the claims asserted therein resulting from the transfer of all or any portion

of such claims. The provisions of this paragraph 28 and each Master Proof of Claim are intended

solely for the purpose of administrative convenience and shall not affect the right of each

Prepetition Secured Party (or its successors in interest) to vote separately on any plan proposed

in these Cases. The Master Proofs of Claim shall not be required to attach any instruments,

agreements or other documents evidencing the obligations owing by each of the Debtors to the

applicable Prepetition Secured Parties, which instruments, agreements or other documents will

be provided upon written request to counsel to the applicable Prepetition Agent.

       29.     Insurance. To the extent that any of the Prepetition Agents is listed as loss payee

under the Borrower’s or Guarantors’ insurance policies, the DIP Agent is also deemed to be the

loss payee for the Prepetition Secured Parties under such insurance policies and shall act in that

capacity and distribute any proceeds recovered or received in respect of any such insurance

policies, first, to the payment in full of the DIP Obligations (other than contingent

indemnification obligations as to which no claim has been asserted) and second, to the payment

of the Prepetition Debt owed to the Prepetition Secured Parties.




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         30.   Effectiveness. This Final Order shall constitute findings of fact and conclusions

of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date

immediately upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062, or 9014 of the Bankruptcy Rules or any Local Bankruptcy Rule, or Rule 62(a) of

the Federal Rules of Civil Procedure, this Final Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of execution or effectiveness of this Final

Order.

         31.   Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Final Order.

         32.   Payments Held in Trust. Except as expressly permitted in this Final Order or the

DIP Documents, in the event that any Prepetition Secured Party receives any payment on

account of a security interest in DIP Collateral, receives any DIP Collateral or any proceeds of

DIP Collateral or receives any other payment with respect thereto from any other source prior to

indefeasible payment in full in cash of all DIP Obligations under the DIP Documents, and

termination of the DIP Commitments in accordance with the DIP Documents, such Prepetition

Secured Party shall be deemed to have received, and shall hold, any such payment or proceeds of

DIP Collateral in trust for the benefit of the DIP Agent and the DIP Lenders and shall

immediately turn over such proceeds to the DIP Agent, or as otherwise instructed by this Court,

for application in accordance with the DIP Documents and this Final Order.

         33.   Credit Bidding. (a) The DIP Agent, as directed by the Required Lenders under

the DIP Documents, shall have the right to credit bid on behalf of the Senior DIP Secured

Parties, in accordance with the DIP Documents, up to the full amount of the DIP Obligations in

any sale of the DIP Collateral, and (b) subject to any applicable Intercreditor Agreement, the



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Prepetition Secured Parties shall have the right to credit bid on behalf of the Prepetition Secured

Parties, up to the full amount of their Prepetition Debt in any sale of the Prepetition Collateral, in

each case, as provided for in and subject to section 363(k) of the Bankruptcy Code, without the

need for further Court order authorizing the same and whether any such sale is effectuated

through section 363(k) or 1129(b) of the Bankruptcy Code, by a chapter 7 trustee under section

725 of the Bankruptcy Code, or otherwise.

       34.     Dutch Distributions. Nothing in this Final Order or in any DIP Document shall

prejudice, impair, limit or otherwise be deemed a waiver of the right of any party in interest

(including the Creditors’ Committee) to seek determination by the Court (made after a hearing

on notice to affected parties) that the distributions described in section 6.27 of the DIP Credit

Agreement are not encumbered by the Prepetition Liens of the Prepetition Lenders or otherwise

constitute Collateral (as defined in the applicable Prepetition Credit Agreement) and all such

rights are fully and expressly preserved and shall be subject to the Challenge Period.

       35.     Intercreditor Agreements. Nothing in this Final Order shall amend or otherwise

modify the terms or enforceability of the Intercreditor Agreements, including without limitation,

the turnover and bankruptcy-related provisions contained therein, and the Intercreditor

Agreements shall each remain in full force and effect. The rights of the Prepetition Secured

Parties shall at all times remain subject to the Intercreditor Agreements.

       36.     Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003 and 6004,

in each case to the extent applicable, are satisfied by the contents of the Motion.

       37.     Necessary Action. The Debtors are authorized to take all such actions as are

necessary or appropriate to implement the terms of this Final Order.




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         38.   Retention of Jurisdiction. The Court shall retain jurisdiction to enforce the

provisions of this Final Order, and this retention of jurisdiction shall survive the confirmation

and consummation of any chapter 11 plan for any one or more of the Debtors notwithstanding

the terms or provisions of any such chapter 11 plan or any order confirming any such chapter 11

plan.

         39.   Subject to Section 553 of the Bankruptcy Code and applicable law, nothing in this

Final Order is intended to limit, impact or affect, in any way, any rights to set off or recoupment

that the United States may have, all of which are expressly reserved.

         40.   Notwithstanding anything to the contrary in this Final Order, the liens granted in

this Final Order, if any, against any of the Debtors’ interests in the federal leases, grants of

pipeline rights of way and rights of use and easement, shall not grant the applicable lender any

greater rights or interests in the applicable leases, grants of pipeline rights of way and/or rights of

use and easement than those to which the Debtors are entitled. For the avoidance of any doubt,

to the extent that any pre-petition secured parties or post-petition lenders foreclose on any pre-

petition liens, adequate protection liens and/or post-petition liens, all regulatory and contractual

requirements that apply to such leases, rights of way and rights of use and easement shall be

preserved, subject to any defenses that may apply.

         41.   The Debtors shall promptly serve copies of this Final Order (which shall

constitute adequate notice of the Final Hearing) to the parties having been given notice of the

Final Hearing, to any party that has filed a request for notices with this Court.


Dated:                          , 2020
         Houston, Texas

                                                 THE HONORABLE MARVIN ISGUR
                                                UNITED STATES BANKRUPTCY JUDGE


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